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    O      ® E N T R A L                                             CENTRAL MUTUAL INSURANCE COMPANY
                                                                     800 S WASHINGTON ST
                                                                     VAN WERT OH 45891-2381
                                                                     www.central-insurance.com

                                                                     Effective Date: 08/08/2021



               SIGNATURE AUTOMOBILE POLICY DECLARATIONS

REASON FOR THESE DECLARATIONS: AUTOMOBILE RENEWAL CERTIFICATE

NAMED INSURED                                         AGENCY
KENNETH G SHEETS                                      SNELLINGS WALTERS INS AGENCY
ANGELA D SHEETS                                       1117 PERIMETER CTR STE W101
472 KIMBERLY CT                                       ATLANTA GA 30338-5449
MCDONOUGH GA 30252-3659                               (770) 396-9600
                                                      www.snellingswalters.com


POLICY NUMBER FMA3627637
POLICY PERIOD AT ADDRESS OF NAMED INSURED FROM 08/08/2021 TO 08/08/2022
              (12:01 A.M. STANDARD TIME)

 YOUR PREMIUM
    TOTAL ANNUAL PREMIUM                                                        Redacte
                                                                                d

 YOU ARE SAVING MONEY

    YOUR DISCOUNTS
      ELITE NEW POLICY
      PAYMENT TIMELINESS
      PAID IN FULL
      PACKAGED POLICY
      CUSTOMER LOYALTY
      ANTI-THEFT                                           Vehicle: 001, 003, 004, 006
      PASSIVE RESTRAINT                                    Vehicle: 001, 002, 003, 004, 006


 VEHICLES
 VEHICLE STATE TER YEAR MAKE/MODEL                               IDENTIFICATION NUMBER SYMBOL     CLASS
  001    GA    028 2017 LEXU RX 350                              JTJBZMCA6H2024195     2904904141 U85100
  002    GA    028 2009 ROVE RANGE ROVE                          SALSK25499A191217     2954802323 U85100
  003    GA    028 2011 FORD F-150                               1FTFW1R66BFD00082     3054703225 U85100
  004    GA    028 2019 HOND ACCORD                              1HGCV3F98KA017990     2955004942 U85100
  006    GA    028 2015 CHEV SILVERADO                           3GCUKSECXFG402560     2954602834 P85100


                   I hereb»y certify that this is a true and exact
                   copy o r the original policy, as it existed on
                   Date of Loss:«_ O
                   Policy Number
                   Certified By:
                                                              1
                   Date Pfepared:.
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                                                  EXHIBIT
                                                         B
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         SIGNATURE AUTOMOBILE POLICY DECLARATIONS (CONTINUED)
NAMED INSURED                                            POLICY NUMBER
KENNETH G SHEETS                                         FMA 3627637
ANGELA D SHEETS


 DRIVERS
    DRIVER     NAME                                                                         BIRTH DATE
    01         KENNETH G SHEETS                                                              Redacted
    02         ANGELA D SHEETS                                                               Redacted
                                                                                             Premium
    03         NATHAN THOMAS SHEETS                                                          Redacte

 ADDITIONAL DRIVER INFORMATION
  DRIVER 03:  Driver is excluded from all coverages.



COVERAGES, LIMITS OF LIABILITY, AND PREMIUMS
Coverage is provided where premium & limit of liability are shown for the coverage.


                                                      VEHICLE     VEHICLE      VEHICLE   VEHICLE   VEHICLE
COVERAGE / LIMIT OF LIABILITY                             001       002          003       004       006

 A. LIABILITY LIMITS
    1. BODILY INJURY
       $250,000 EACH PERSON                          Redacted Premium Info
       $500,000 EACH ACCIDENT

     2.    PROPERTY DAMAGE
           $100,000 EACH ACCIDENT

 B. MEDICAL PAYMENTS
    $10,000 EACH PERSON

 C. UNINSURED MOTORISTS - ADD-ON
    1. BODILY INJURY
       $250,000 EACH PERSON
       $500,000 EACH ACCIDENT

     2.    PROPERTY DAMAGE
           $100,000 EACH ACCIDENT
           LESS $250 DEDUCTIBLE

 D. DAMAGE TO YOUR AUTO .
    1. OTHER THAN COLLISION LOSS
       ACTUAL CASH VALUE LESS $2,500

     2.    COLLISION LOSS
           ACTUAL CASH VALUE LESS $2,500
VEHICLE ANNUAL PREMIUM




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      SIGNATURE AUTOMOBILE POLICY DECLARATIONS (CONTINUED)
NAMED INSURED                                            POLICY NUMBER
KENNETH G SHEETS                                         FMA 3627637
ANGELA D SHEETS


 COVERAGES, LIMITS OF LIABILITY, AND PREMIUMS
Coverage is provided where premium & limit of liability are shown for the coverage.

ADDITIONAL COVERAGES
 SIGNATURE AUTO ENDORSEMENT INCLUDES THE FOLLOWING:
    WAIVER OF COLLISION DEDUCTIBLE FOR
        PARKED CAR LOSSES
    WAIVER OF COLLISION DEDUCTIBLE IF INVOLVED IN
       AN ACCIDENT WITH ANOTHER CENTRAL INSURED
       AN ACCIDENT WITH AN UNINSURED MOTORIST
    WAIVER OF OTHER THAN COLLISION OR COLLISION
       DEDUCTIBLE IF VEHICLE DECLARED A TOTAL LOSS
    WAIVER OF OTHER THAN COLLISION DEDUCTIBLE FOR
       GLASS LOSSES
    TOWING & LABOR COSTS
    TRANSPORTATION EXPENSES
    PERSONAL EFFECTS
    DOUBLED MEDICAL PAYMENTS
    AUTOMOBILE DEATH BENEFIT
    RENTAL CAR LOSS OF USE
    AIR BAG REPLACEMENT
    PORTABLE ELECTRONIC EQUIPMENT
    AUTO LOAN/LEASE GAP
    LOCK REPLACEMENT
    LOCKOUT
    FIRE, POLICE, RESCUE SQUAD, AND
       AMBULANCE SERVICE CHARGE
    PET INJURY
    CHILD SAFETY SEATS
    TRIP INTERRUPTION
    REPLACEMENT COST
    ORIGINAL EQUIPMENT MANUFACTURER PARTS
    VEHICLE MODIFICATION
    WORLDWIDE RENTED VEHICLES
                                                                          Redacted Premium Info
        For specific coverage details see endorsement.
ADDITIONAL COVERAGES ANNUAL PREMIUM




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        SIGNATURE AUTOMOBILE POLICY DECLARATIONS (CONTINUED)
  NAMED INSURED                                        POLICY NUMBER
  KENNETH G SHEETS                                     FMA 3627637
  ANGELA D SHEETS


   FORMS APPLICABLE TO POLICY
     FORM      DATE     FORM TITLE
    PP0001     09/18        PERSONAL AUTO POLICY PROVISIONS
    PP0157     09/18        GA-AMENDMENT OF POLICY PROVISIONS
    PP0203     09/18        GA-TERMINATION PROVISIONS
    PP0454     09/18        GA-UNINSURED MOTORISTS ADD-ON COVERAGE
    PP2315     09/18       GA-NAMED DRIVER EXCLUSION ENDORSEMENT
  * 14-3115    06/05        POLICYHOLDER NOTICE OF RIGHT TO REQUEST UPDATED INSURANCE SCORE
    20-1456    09/86       HOMEOWNERS-AUTO DEDUCTIBLE WAIVER ENDORSEMENT
    20-1768    08/91       MUTUAL POLICY CONDITIONS-APPLICABLE TO CENTRAL MUTUAL
    20-1769    08/91       PROVISIONS APPLICABLE TO CENTRAL MUTUAL & ALL AMERICA INS CO
  * 20-2088    06/19       CENTRAL INSURANCE COMPANIES PRIVACY NOTICE
  * 20-2143    06/14       AVAILABLE PAY PLANS
  * 3-2799     01/08       GA-NOTICE OF UNINSURED MOTORISTS COVERAGE
     3-2986    05/15       CENTRAL SIGNATURE (SM) AUTO ENDORSEMENT
  * 3-3062     05/16       ADVISORY NOTICE TO POLICYHOLDERS REGARDING PUBLIC OR LIVERY
  * Denotes forms attached with this transaction.




                                                                                            07/01/2021
                                     PRESIDENT                 SECRETARY                      DATE
 THESE DECLARATIONS REPLACE ALL PRIOR DECLARATIONS IF ANY, AND WITH POLICY PROVISIONS AND ENDORSEMENTS
 COMPLETE THIS POLICY

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                            YOUR PERSONAL AUTO POLICY QUICK REFERENCE


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                                             PERSONAL AUTO POLICY
AGREEMENT
In return for payment of the premium and subject to all the terms of this Policy, we agree with you as follows:
DEFINITIONS
A. Throughout this Policy, "you" and "your" refer to:
   1. The named insured shown in the Declarations; and
   2. The spouse if a resident of the same household.
   If the spouse ceases to be a resident of the same household during the policy period or prior to the inception
   of this Policy, the spouse will be considered "you" and "your" under this Policy but only until the earlier of:
      a. The end of 90 days following the spouse's change of residency;
      b. The effective date of another policy listing the spouse as a named insured; or
      c. The end of the policy period.
B. "We", "us" and "our" refer to the company providing this insurance.
C. For purposes of this Policy, a private passenger type auto, pickup or van shall be deemed to be owned by a
   person if leased:
   1. Under a written agreement to that person; and
   2. For a continuous period of at least six months.
Other words and phrases are defined. They are in quotation marks when used.
D. "Bodily injury" means bodily harm, sickness or disease, including death that results.
E. "Business" includes trade, profession or occupation.
F. "Family member" means a person related to you by blood, marriage or adoption who is a resident of your
   household. This includes a ward or foster child.
G. "Occupying" means:
   1. In;
   2. Upon; or
   3. Getting in, on, out or off.
H. "Property damage" means physical injury to, destruction of or loss of use of tangible property.
I. "Trailer" means a vehicle designed to be pulled by a:
   1. Private passenger auto; or
   2. Pickup or van.
   It also means a farm wagon or farm implement while towed by a vehicle listed in 1. or 2. above.
J. "Your covered auto" means:
   1. Any vehicle shown in the Declarations;
   2. A "newly acquired auto";
   3. Any "trailer" you own; or
   4. Any auto or "trailer" you do not own while used as a temporary substitute for any other vehicle described in
      this definition which is out of normal use because of its:
       a. Breakdown;
      b. Repair;
       c. Servicing;
      d. Loss; or
       e. Destruction.
      This provision (J.4.) does not apply to Coverage For Damage To Your Auto.
K. "Newly acquired auto":


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   1. "Newly acquired auto" means any of the following types of vehicles you become the owner of during the
      policy period:
      a. A private passenger auto; or
      b. A pickup or van, for which no other insurance policy provides coverage, that:
         (1) Has a Gross Vehicle Weight Rating of 10,000 lbs. or less; and
         (2) Is not used for the delivery or transportation of goods and materials unless such use is:
             (a) Incidental to your "business" of installing, maintaining or repairing furnishings or equipment; or
             (b) For farming or ranching.
   2. Coverage for a "newly acquired auto" is provided as follows:
      a. For any coverage provided in this Policy other than Coverage For Damage To Your Auto, a "newly
          acquired auto" will have the broadest coverage we now provide for any vehicle shown in the
          Declarations, However, for this coverage to apply, you must ask us to insure it within 14 days after you
          become the owner.
      b. Collision Coverage for a "newly acquired auto" begins on the date you become the owner. However, for
          this coverage to apply, you must ask us to insure it within:
         (1) 14 days after you become the owner, if the Declarations indicates that Collision Coverage applies to
              at least one auto. In this case, the "newly acquired auto" will have the broadest coverage we now
              provide for any auto shown in the Declarations.
         (2) Four days after you become the owner, if the Declarations does not indicate that Collision Coverage
              applies to at least one auto. If you comply with the four-day requirement and a loss occurred before
              you asked us to insure the "newly acquired auto", a Collision deductible of $500 will apply.
       c. Other Than Collision Coverage for a "newly acquired auto" begins on the date you become the owner.
          However, for this coverage to apply, you must ask us to insure it within:
         (1) 14 days after you become the owner, if the Declarations indicates that Other Than Collision
              Coverage applies to at least one auto. In this case, the "newly acquired auto" will have the broadest
              coverage we now provide for any auto shown in the Declarations.
         (2) Four days after you become the owner, if the Declarations does not indicate that Other Than
              Collision Coverage applies to at least one auto. If you comply with the four-day requirement and a
              loss occurred before you asked us to insure the "newly acquired auto", an Other Than Collision
              deductible of $500 will apply.
      d. For all coverages addressed in Paragraphs K.2.a., b. and c., if you first ask us to insure the "newly
          acquired auto" after the applicable time period has elapsed, coverage will begin on the day you first ask
          us to insure the "newly acquired auto”.
L. "Transportation network platform" means an online-enabled application or digital network used to connect
   passengers with drivers using vehicles for the purpose of providing prearranged transportation services for
   compensation.
PART A - LIABILITY COVERAGE
INSURING AGREEMENT
A. We will pay damages for "bodily injury" or "property damage" for which any "insured" becomes legally
   responsible because of an auto accident. Damages include prejudgment interest awarded against the
   "insured". We will settle or defend, as we consider appropriate, any claim or suit asking for these damages. In
   addition to our limit of liability, we will pay all defense costs we incur. Our duty to settle or defend ends when
   our limit of liability for this coverage has been exhausted by payment of judgments or settlements. We have no
   duty to defend any suit or settle any claim for "bodily injury" or "property damage" not covered under this
   Policy.
B. "Insured" as used in this Part means:
   1. You or any "family member" for the ownership, maintenance or use of any auto or "trailer".
   2. Any person using "your covered auto".
   3. For "your covered auto", any person or organization but only with respect to legal responsibility for acts or
      omissions of a person for whom coverage is afforded under this Part.
   4. For any auto or "trailer", other than "your covered auto", any other person or organization but only with



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       respect to legal responsibility for acts or omissions of you or any "family member" for whom coverage is
       afforded under this Part. This provision (B.4.) applies only if the person or organization does not own or
       hire the auto or "trailer”.
SUPPLEMENTARY PAYMENTS
We will pay on behalf of an "insured":
  1. Up to $250 for the cost of bail bonds required because of an accident, including related traffic law
      violations. The accident must result in "bodily injury" or "property damage" covered under this Policy.
   2. Premiums on appeal bonds and bonds to release attachments in any suit we defend.
   3. Interest accruing after a judgment is entered in any suit we defend. Our duty to pay interest ends when we
      offer to pay that part of the judgment which does not exceed our limit of liability for this coverage.
   4. Up to $250 a day for loss of earnings, but not other income, because of attendance at hearings or trials at
      our request.
   5. Other reasonable expenses incurred at our request.
These payments will not reduce the limit of liability.
EXCLUSIONS
A. We do not provide Liability Coverage for any "insured":
   1. Who intentionally causes "bodily injury" or "property damage".
   2. For "property damage" to property owned or being transported by that "insured".
   3. For "property damage" to property:
       a. Rented to;
       b. Used by; or
       c. In the care of;
       that "insured".
      This exclusion (A.3.) does not apply to "property damage" to a residence or private garage.
   4. For "bodily injury" to an employee of that "insured" during the course of employment. This exclusion (A.4.)
      does not apply to "bodily injury" to a domestic employee unless workers' compensation benefits are
      required or available for that domestic employee.
   5. For that "insured's" liability arising out of the ownership or operation of a vehicle while it is being used as a
      public or livery conveyance. This includes but is not limited to any period of time a vehicle is being used by
      any "insured" who is logged into a "transportation network platform" as a driver, whether or not a
      passenger is "occupying" the vehicle.
       This exclusion (A.5.) does not apply to:
       a. A share-the-expense car pool; or
      b. The ownership or operation of a vehicle while it is being used for volunteer or charitable purposes.
   6. While employed or otherwise engaged in the "business" of:
       a. Selling;
       b. Repairing;
       c. Servicing;
       d. Storing; or
       e. Parking;
       vehicles designed for use mainly on public highways. This includes road testing and delivery. This
       exclusion (A.6.) does not apply to the ownership, maintenance or use of "your covered auto" by:
          (1) You;
          (2) Any "family member"; or
         (3) Any partner, agent or employee of you or any "family member".
   7. Maintaining or using any vehicle while that "insured" is employed or otherwise engaged in any "business"
      (other than farming or ranching) not described in Exclusion A.6.



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       This exclusion (A.7.) does not apply to the maintenance or use of a:
       a. Private passenger auto;
       b. Pickup or van; or
      c. "Trailer" used with a vehicle described in a. or b. above.
   8. Using a vehicle without a reasonable belief that that "insured" is entitled to do so. This exclusion (A.8.)
      does not apply to a "family member" using "your covered auto" which is owned by you.
   9. For "bodily injury" or "property damage" for which that "insured":
      a. Is an insured under a nuclear energy liability policy; or
      b. Would be an insured under a nuclear energy liability policy but for its termination upon exhaustion of its
         limit of liability.
      A nuclear energy liability policy is a policy issued by any of the following or their successors:
         (1) Nuclear Energy Liability Insurance Association;
         (2) Mutual Atomic Energy Liability Underwriters; or
         (3) Nuclear Insurance Association of Canada.
  10. For the ownership, maintenance or use of "your covered auto" while:
      a. Enrolled in a personal vehicle sharing program under the terms of a written agreement; and
     b. Being used in connection with such personal vehicle sharing program by anyone other than you or any
        "family member".
B. We do not provide Liability Coverage for the ownership, maintenance or use of:
   1. Any vehicle which:
       a. Has fewer than four wheels; or
       b. Is designed mainly for use off public roads.
       This exclusion (B.1.) does not apply:
         (1) While such vehicle is being used by an "insured" in a medical emergency;
         (2) To any "trailer"; or
          (3) To any non-owned golf cart.
   2. Any vehicle, other than "your covered auto", which is:
      a. Owned by you; or
      b. Furnished or available for your regular use.
   3. Any vehicle, other than "your covered auto", which is:
       a. Owned by any "family member"; or
       b. Furnished or available for the regular use of any "family member".
       However, this exclusion (B.3.) does not apply to you while you are maintaining or "occupying" any vehicle
       which is:
         (1) Owned by a "family member"; or
         (2) Furnished or available for the regular use of a "family member".
   4. Any vehicle, located inside a facility designed for racing, for the purpose of:
      a. Participating or competing in; or
       b. Practicing or preparing for;
       any prearranged or organized:
         (1) Racing or speed contest; or
         (2) Driver skill training or driver skill event.
   5. Any vehicle which is designed or can be used for flight.
LIMIT OF LIABILITY
A. The Limit Of Liability shown in the Declarations for each person for Bodily Injury Liability is our maximum limit
   of liability for all damages, including damages for care, loss of services or death, arising out of "bodily injury"
   sustained by any one person in any one auto accident. Subject to this limit for each person, the Limit Of


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   Liability shown in the Declarations for each accident for Bodily Injury Liability is our maximum limit of liability
   for all damages for "bodily injury" resulting from any one auto accident.
   The Limit Of Liability shown in the Declarations for each accident for Property Damage Liability is our
   maximum limit of liability for all "property damage" resulting from any one auto accident.
   This is the most we will pay regardless of the number of:
   1. "Insureds";
   2. Claims made;
   3. Vehicles or premiums shown in the Declarations; or
   4. Vehicles involved in the auto accident.
B. No one will be entitled to receive duplicate payments for the same elements of loss under this coverage and:
   1. Part B or Part C of this Policy; or
   2. Any Underinsured Motorists Coverage provided by this Policy.
OUT OF STATE COVERAGE
If an auto accident to which this Policy applies occurs in any state or province other than the one in which "your
covered auto" is principally garaged, we will interpret your policy for that accident as follows:
A. If the state or province has:
   1. A financial responsibility or similar law specifying limits of liability for "bodily injury" or "property damage"
      higher than the limit shown in the Declarations, your policy will provide the higher specified limit.
   2. A compulsory insurance or similar law requiring a nonresident to maintain insurance whenever the
      nonresident uses a vehicle in that state or province, your policy will provide at least the required minimum
      amounts and types of coverage.
B. No one will be entitled to duplicate payments for the same elements of loss.
FINANCIAL RESPONSIBILITY
When this Policy is certified as future proof of financial responsibility, this Policy shall comply with the law to the
extent required.
OTHER INSURANCE
If there is other applicable liability insurance, we will pay only our share of the loss. Our share is the proportion
that our limit of liability bears to the total of all applicable limits. However, any insurance we provide for a vehicle
you do not own, including any vehicle while used as a temporary substitute for "your covered auto", shall be
excess over any other collectible insurance except insurance written specifically to cover as excess over the limits
of liability that apply in this Policy.
PART B - MEDICAL PAYMENTS COVERAGE
INSURING AGREEMENT
A. We will pay reasonable expenses incurred for necessary medical and funeral services because of "bodily
   injury":
   1. Caused by an accident; and
   2. Sustained by an "insured".
   We will pay only those expenses incurred for services rendered within three years from the date of the
   accident.
B. "Insured" as used in this Part means:
   1. You or any "family member":
       a. While "occupying"; or
       b. As a pedestrian when struck by;
       a motor vehicle designed for use mainly on public roads or a trailer of any type.
   2. Any other person while "occupying" "your covered auto".
EXCLUSIONS
We do not provide Medical Payments Coverage for any "insured" for "bodily injury":
  1. Sustained while "occupying" any motorized vehicle having fewer than four wheels.

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  2. Sustained while "occupying" "your covered auto" when it is being used as a public or livery conveyance.
     This includes but is not limited to any period of time "your covered auto” is being used by any "insured"
     who is logged into a "transportation network platform" as a driver, whether or not a passenger is
     "occupying" the vehicle.
     This exclusion (2.) does not apply:
     a. To a share-the-expense car pool; or
     b. While "your covered auto" is being used for volunteer or charitable purposes,
  3. Sustained while "occupying" any vehicle located for use as a residence or premises.
  4. Occurring during the course of employment if workers' compensation benefits are required or available for
     the "bodily injury".
  5. Sustained while "occupying”, or when struck by, any vehicle (other than "your covered auto") which is:
     a. Owned by you; or
     b. Furnished or available for your regular use.
  6. Sustained while "occupying", or when struck by, any vehicle (other than "your covered auto") which is;
     a. Owned by any "family member"; or
     b. Furnished or available for the regular use of any "family member".
     However, this exclusion (6.) does not apply to you.
  7. Sustained while "occupying" a vehicle without a reasonable belief that that "insured" is entitled to do so.
     This exclusion (7.) does not apply to a "family member" using "your covered auto" which is owned by you.
  8. Sustained while "occupying" a vehicle when it is being used in the "business" of an "insured". This
     exclusion (8.) does not apply to "bodily injury" sustained while "occupying" a:
     a. Private passenger auto;
     b. Pickup or van; or
     c. "Trailer" used with a vehicle described in a. or b. above.
  9. Caused by or as a consequence of:
     a. Discharge of a nuclear weapon (even if accidental);
     b. War (declared or undeclared);
     c. Civil war;
     d. Insurrection; or
     e. Rebellion or revolution.
 10. From or as a consequence of the following, whether controlled or uncontrolled or however caused:
     a. Nuclear reaction;
     b. Radiation; or
     c. Radioactive contamination.
 11. Sustained while "occupying" any vehicle located inside a facility designed for racing, for the purpose of:
     a. Participating or competing in; or
     b. Practicing or preparing for;
     any prearranged or organized:
        (1) Racing or speed contest; or
        (2) Driver skill training or driver skill event.
 12. Sustained while "occupying", or when struck by, "your covered auto" while:
     a. Enrolled in a personal vehicle sharing program under the terms of a written agreement; and
     b. Being used in connection with such personal vehicle sharing program by anyone other than you or any
        "family member".
 13. Sustained while "occupying", or when struck by, any vehicle which is designed or can be used for flight.




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LIMIT OF LIABILITY
A. The Limit Of Liability shown in the Declarations for this coverage is our maximum limit of liability for each
   person injured in any one accident. This is the most we will pay regardless of the number of:
   1. "Insureds";
   2. Claims made;
   3. Vehicles or premiums shown in the Declarations; or
   4. Vehicles involved in the accident.
B. No one will be entitled to receive duplicate payments for the same elements of loss under this coverage and:
   1. Part A or Part C of this Policy; or
   2. Any Underinsured Motorists Coverage provided by this Policy.
OTHER INSURANCE
If there is other applicable auto medical payments insurance, we will pay only our share of the loss. Our share is
the proportion that our limit of liability bears to the total of all applicable limits. However, any insurance we provide
with respect to a vehicle you do not own, including any vehicle while used as a temporary substitute for "your
covered auto", shall be excess over any other collectible auto insurance providing payments for medical or funeral
expenses.
PART C - UNINSURED MOTORISTS COVERAGE
INSURING AGREEMENT
A. We will pay compensatory damages which an "insured" is legally entitled to recover from the owner or
   operator of an "uninsured motor vehicle" because of "bodily injury":
   1. Sustained by an "insured"; and
   2. Caused by an accident.
   The owner's or operator's liability for these damages must arise out of the ownership, maintenance or use of
   the "uninsured motor vehicle".
   Any judgment for damages arising out of a suit brought without our written consent is not binding on us.
B. "Insured" as used in this Part means:
    1. You or any "family member";
   2. Any other person "occupying" "your covered auto"; or
   3. Any person for damages that person is entitled to recover because of "bodily injury" to which this coverage
      applies sustained by a person described in 1. or 2. above.
C. "Uninsured motor vehicle" means a land motor vehicle or trailer of any type:
   1. To which no bodily injury liability bond or policy applies at the time of the accident.
   2. To which a bodily injury liability bond or policy applies at the time of the accident. In this case its limit for
      bodily injury liability must be less than the minimum limit for bodily injury liability specified by the financial
      responsibility law of the state in which "your covered auto" is principally garaged.
   3. Which is a hit-and-run vehicle whose operator or owner cannot be identified and which hits:
       a. You or any "family member";
       b. A vehicle which you or any "family member" are "occupying"; or
       c. "Your covered auto".
   4. To which a bodily injury liability bond or policy applies at the time of the accident but the bonding or
      insuring company:
       a. Denies coverage; or
       b. Is or becomes insolvent.
   However, "uninsured motor vehicle" does not include any vehicle or equipment:
       (1) Owned by or furnished or available for the regular use of you or any "family member".
          (2) Owned or operated by a self-insurer under any applicable motor vehicle law, except a self-insurer
              which is or becomes insolvent.
          (3) Owned by any governmental unit or agency.

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         (4) Operated on rails or crawler treads.
         (5) Designed mainly for use off public roads while not on public roads.
         (6) While located for use as a residence or premises.
EXCLUSIONS
A. We do not provide Uninsured Motorists Coverage for "bodily injury" sustained:
   1. By an "insured" while "occupying", or when struck by, any motor vehicle owned by that "insured" which is
      not insured for this coverage under this Policy. This includes a trailer of any type used with that vehicle.
   2. By any "family member" while "occupying", or when struck by, any motor vehicle you own which is insured
      for this coverage on a primary basis under any other policy.
B. We do not provide Uninsured Motorists Coverage for "bodily injury" sustained by any "insured":
   1. If that "insured" or the legal representative settles the "bodily injury" claim and such settlement prejudices
      our right to recover payment.
   2. While "occupying" "your covered auto" when it is being used as a public or livery conveyance. This
      includes but is not limited to any period of time "your covered auto" is being used by any "insured" who is
      logged into a "transportation network platform" as a driver, whether or not a passenger is "occupying" the
      vehicle.
      This exclusion (B.2.) does not apply:
      a. To a share-the-expense car pool; or
      b. While "your covered auto" is being used for volunteer or charitable purposes.
   3. Using a vehicle without a reasonable belief that that "insured" is entitled to do so. This exclusion (B.3.)
      does not apply to a "family member" using "your covered auto" which is owned by you.
   4. While "occupying", or when struck by, "your covered auto" while:
      a. Enrolled in a personal vehicle sharing program under the terms of a written agreement; and
      b. Being used in connection with such personal vehicle sharing program by anyone other than you or any
         "family member".
   5. While "occupying", or when struck by, any vehicle which is designed or can be used for flight.
C. This coverage shall not apply directly or indirectly to benefit any insurer or self-insurer under any of the
   following or similar law:
   1. Workers' compensation law; or
   2. Disability benefits law.
D. We do not provide Uninsured Motorists Coverage for punitive or exemplary damages.
LIMIT OF LIABILITY
A. The Limit Of Liability shown in the Declarations for each person for Uninsured Motorists Coverage is our
   maximum limit of liability for all damages, including damages for care, loss of services or death, arising out of
   "bodily injury" sustained by any one person in any one accident. Subject to this limit for each person, the Limit
   Of Liability shown in the Declarations for each accident for Uninsured Motorists Coverage is our maximum
   limit of liability for all damages for "bodily injury" resulting from any one accident.
   This is the most we will pay regardless of the number of:
   1. "Insureds";
   2. Claims made;
   3. Vehicles or premiums shown in the Declarations; or
   4. Vehicles involved in the accident.
B. No one will be entitled to receive duplicate payments for the same elements of loss under this coverage and:
   1. Part A or Part B of this Policy; or
   2. Any Underinsured Motorists Coverage provided by this Policy.
C. We will not make a duplicate payment under this coverage for any element of loss for which payment has
   been made by or on behalf of persons or organizations who may be legally responsible.
D. We will not pay for any element of loss if a person is entitled to receive payment for the same element of loss
   under any of the following or similar law:

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   1. Workers' compensation law; or
   2. Disability benefits law.
OTHER INSURANCE
If there is other applicable insurance available under one or more policies or provisions of coverage that is similar
to the insurance provided under this Part of the Policy:
     1. Any recovery for damages under all such policies or provisions of coverage may equal but not exceed the
        highest applicable limit for any one vehicle under any insurance providing coverage on either a primary or
        excess basis.
     2. Any insurance we provide with respect to a vehicle you do not own, including any vehicle while used as a
        temporary substitute for "your covered auto", shall be excess over any collectible insurance providing such
        coverage on a primary basis.
  3. If the coverage under this Policy is provided:
     a. On a primary basis, we will pay only our share of the loss that must be paid under insurance providing
          coverage on a primary basis. Our share is the proportion that our limit of liability bears to the total of all
          applicable limits of liability for coverage provided on a primary basis.
     b. On an excess basis, we will pay only our share of the loss that must be paid under insurance providing
          coverage on an excess basis. Our share is the proportion that our limit of liability bears to the total of all
          applicable limits of liability for coverage provided on an excess basis.
ARBITRATION
A. If we and an "insured" do not agree:
   1. Whether that "insured" is legally entitled to recover damages; or
   2. As to the amount of damages which are recoverable by that "insured";
   from the owner or operator of an "uninsured motor vehicle", then the matter may be arbitrated. However,
   disputes concerning coverage under this Part may not be arbitrated.
   Both parties must agree to arbitration. If so agreed, each party will select an arbitrator. The two arbitrators will
   select a third. If they cannot agree within 30 days, either may request that selection be made by a judge of a
   court having jurisdiction.
B. Each party will:
   1. Pay the expenses it incurs; and
   2. Bear the expenses of the third arbitrator equally.
C. Unless both parties agree otherwise, arbitration will take place in the county in which the "insured" lives. Local
   rules of law as to procedure and evidence will apply. A decision agreed to by at least two of the arbitrators will
   be binding as to:
   1. Whether the "insured" is legally entitled to recover damages; and
   2. The amount of damages. This applies only if the amount does not exceed the minimum limit for bodily
       injury liability specified by the financial responsibility law of the state in which "your covered auto" is
       principally garaged. If the amount exceeds that limit, either party may demand the right to a trial. This
       demand must be made within 60 days of the arbitrators' decision. If this demand is not made, the amount
       of damages agreed to by the arbitrators will be binding.
PART D - COVERAGE FOR DAMAGE TO YOUR AUTO
INSURING AGREEMENT
A. We will pay for direct and accidental loss to "your covered auto" or any "non-owned auto", including its
   equipment, minus any applicable deductible shown in the Declarations. If loss to more than one "your covered
   auto" or "non-owned auto" results from the same "collision", only the highest applicable deductible will apply.
   We will pay for loss to "your covered auto" caused by:
   1. Other than "collision" only if the Declarations indicates that Other Than Collision Coverage is provided for
      that auto.
   2. "Collision" only if the Declarations indicates that Collision Coverage is provided for that auto.
   If there is a loss to a "non-owned auto", we will provide the broadest coverage applicable to any "your covered
   auto" shown in the Declarations.
B. "Collision" means the upset of "your covered auto" or a "non-owned auto" or its impact with another vehicle or
   object.

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   Loss caused by the following is considered other than "collision":
   1. Missiles or falling objects;
   2. Fire;
   3. Theft or larceny;
   4. Explosion or earthquake;
   5. Windstorm;
   6. Hail, water or flood;
   7. Malicious mischief or vandalism;
   8. Riot or civil commotion;
   9. Contact with bird or animal; or
  10. Breakage of glass.
   If breakage of glass is caused by a "collision", you may elect to have it considered a loss caused by "collision".
C. "Non-owned auto" means:
   1. Any private passenger auto, pickup, van or "trailer" not owned by or furnished or available for the regular
      use of you or any "family member" while in the custody of or being operated by you or any "family
      member"; or
   2. Any auto or "trailer" you do not own while used as a temporary substitute for "your covered auto" which is
      out of normal use because of its:
      a. Breakdown;
      b. Repair;
      c. Servicing;
      d. Loss; or
      e. Destruction.
D. "Custom equipment" means equipment, furnishings and parts in or upon any auto, other than:
   1. Original manufacturer equipment, furnishings or parts; or
   2. Any replacement of original manufacturer equipment, furnishings or parts with other equipment, furnishings
      or parts of like kind and quality.
   "Custom equipment" includes but is not limited to:
      a. Special carpeting or insulation;
      b. Furniture or bars;
       c. Height-extending roofs;
      d. Body, engine, exhaust or suspension enhancers;
      e. Winches, or anti-roll or anti-sway bars;
       f. Custom grilles, louvers, side pipes, hood scoops or spoilers;
      g. Custom wheels, tires or spinners;
      h. Custom chrome, murals, paintwork, decals or other graphics; or
       i. Caps, covers or bedliners.
   "Custom equipment" does not include electronic equipment that reproduces, receives or transmits audio,
   visual or data signals.
TRANSPORTATION EXPENSES
A. In addition, we will pay, without application of a deductible, up to a maximum of $900 for:
   1. Temporary transportation expenses not exceeding $30 per day incurred by you in the event of a loss to
       "your covered auto". We will pay for such expenses if the loss is caused by:
       a. Other than "collision" only if the Declarations indicates that Other Than Collision Coverage is provided
          for that auto.
       b. "Collision" only if the Declarations indicates that Collision Coverage is provided for that auto.


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   2. Expenses for which you become legally responsible in the event of loss to a "non-owned auto". We will pay
      for such expenses if the loss is caused by:
      a. Other than "collision" only if the Declarations indicates that Other Than Collision Coverage is provided
          for any "your covered auto".
      b. "Collision" only if the Declarations indicates that Collision Coverage is provided for any "your covered
          auto".
      However, the most we will pay for any expenses for loss of use is $30 per day.
B. Subject to the provisions of Paragraph A., if the loss is caused by:
   1. A total theft of "your covered auto" or a "non-owned auto", we will pay only expenses incurred during the
      period:
       a. Beginning 48 hours after the theft; and
      b. Ending when "your covered auto" or the "non-owned auto" is returned to use or we pay for its loss.
   2. Other than theft of a "your covered auto" or a "non-owned auto", we will pay only expenses beginning
      when the auto is withdrawn from use for more than 24 hours.
   Our payment will be limited to that period of time reasonably required to repair or replace the "your covered
   auto" or the "non-owned auto".
EXCLUSIONS
We will not pay for:
   1. Loss to "your covered auto" or any "non-owned auto" which occurs while it is being used as a public or
      livery conveyance. This includes but is not limited to any period of time "your covered auto" or any
      "non-owned auto" is being used by any person who is logged into a "transportation network platform" as a
      driver, whether or not a passenger is "occupying" the vehicle.
       This exclusion (1.) does not apply:
       a. To a share-the-expense car pool; or
       b. While "your covered auto" or any "non-owned auto" is being used for volunteer or charitable purposes.
   2. Damage due and confined to;
       a. Wear and tear;
       b. Freezing;
       c. Mechanical or electrical breakdown or failure; or
       d. Road damage to tires.
       This exclusion (2.) does not apply if the damage results from the total theft of "your covered auto" or any
       "non-owned auto".
   3. Loss due to or as a consequence of:
       a. Radioactive contamination;
       b. Discharge of any nuclear weapon (even if accidental);
       c. War (declared or undeclared);
       d. Civil war;
       e. Insurrection; or
       f. Rebellion or revolution.
   4. Loss to any electronic equipment that reproduces, receives or transmits audio, visual or data signals. This
      includes but is not limited to:
       a. Radios and stereos;
       b. Tape decks;
       c. Compact disc systems;
       d. Navigation systems;
       e. Internet access systems;
       f. Personal computers;


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      g. Video entertainment systems;
      h. Telephones;
       i. Televisions;
      j. Two-way mobile radios;
      k. Scanners; or
       l. Citizens band radios.
      This exclusion (4.) does not apply to electronic equipment that is permanently installed in "your covered
      auto" or any "non-owned auto".
   5. Loss to tapes, records, discs or other media used with equipment described in Exclusion 4.
   6. A total loss to "your covered auto" or any "non-owned auto" due to destruction or confiscation by
      governmental or civil authorities.
      This exclusion (6.) does not apply to the interests of Loss Payees in "your covered auto".
   7. Loss to:
      a. A "trailer", camper body or motor home, which is not shown in the Declarations; or
      b. Facilities or equipment used with such "trailer", camper body or motor home. Facilities or equipment
         include but are not limited to:
         (1) Cooking, dining, plumbing or refrigeration facilities;
         (2) Awnings or cabanas; or
         (3) Any other facilities or equipment used with a "trailer", camper body or motor home.
      This exclusion (7.) does not apply to a:
      a. "Trailer", and its facilities or equipment, which you do not own; or
      b. "Trailer", camper body, or the facilities or equipment in or attached to the "trailer" or camper body,
          which you:
         (1) Acquire during the policy period; and
        (2) Ask us to insure within 14 days after you become the owner.
   8. Loss to any "non-owned auto" when used by you or any "family member" without a reasonable belief that
      you or that "family member" are entitled to do so.
   9. Loss to equipment designed or used for the detection or location of radar or laser.
  10. Loss to any "custom equipment" in or upon "your covered auto" or any "non-owned auto".
      This exclusion (10.) does not apply to the first $1,500 of "custom equipment" in or upon "your covered
      auto" or any "non-owned auto".
  11. Loss to any "non-owned auto" being maintained or used by any person while employed or otherwise
      engaged in the "business" of:
      a. Selling;
      b. Repairing;
      c. Servicing;
      d. Storing; or
      e. Parking;
     vehicles designed for use on public highways. This includes road testing and delivery.
 12. Loss to "your covered auto" or any "non-owned auto", located inside a facility designed for racing, for the
     purpose of:
      a. Participating or competing in; or
      b. Practicing or preparing for;
      any prearranged or organized:
        (1) Racing or speed contest; or
        (2) Driver skill training or driver skill event.



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  13. Loss to, or loss of use of, a "non-owned auto" rented by:
       a. You; or
       b. Any "family member";
       if a rental vehicle company is precluded from recovering such loss or loss of use, from you or that "family
       member", pursuant to the provisions of any applicable rental agreement or state law.
  14. Loss to "your covered auto" which occurs while:
      a. Enrolled in a personal vehicle sharing program under the terms of a written agreement; and
      b. Being used in connection with such personal vehicle sharing program by anyone other than you or any
         "family member".
  15. Loss to, or loss of use of, a "non-owned auto" used by:
       a. You; or
       b. Any "family member";
       in connection with a personal vehicle sharing program if the provisions of such a personal vehicle sharing
       program preclude the recovery of such loss or loss of use, from you or that "family member", or if
       otherwise precluded by any state law.
  16. Loss to any vehicle which is designed or can be used for flight.
LIMIT OF LIABILITY
A. Our limit of liability for loss will be the lesser of the:
   1. Actual cash value of the stolen or damaged property; or
   2. Amount necessary to repair or replace the property with other property of like kind and quality.
   However, the most we will pay for loss to:
       a. Any "non-owned auto” which is a trailer is $1,500.
       b. Electronic equipment that reproduces, receives or transmits audio, visual or data signals, which is
          permanently installed in the auto in locations not used by the auto manufacturer for installation of such
          equipment, is $1,000.
       c. "Custom equipment" in or upon "your covered auto" or any "non-owned auto" is $1,500.
B. An adjustment for depreciation and physical condition will be made in determining actual cash value in the
   event of a total loss.
C. If a repair or replacement results in better than like kind or quality, we will not pay for the amount of the
   betterment.
PAYMENT OF LOSS
We may pay for loss in money or repair or replace the damaged or stolen property. We may, at our expense,
return any stolen property to:
    1. You; or
    2. The address shown in this Policy.
If we return stolen property we will pay for any damage resulting from the theft. We may keep all or part of the
property at an agreed or appraised value.
If we pay for loss in money, our payment will include the applicable sales tax for the damaged or stolen property.
NO BENEFIT TO BAILEE
This insurance shall not directly or indirectly benefit any carrier or other bailee for hire.
OTHER SOURCES OF RECOVERY
If other sources of recovery also cover the loss, we will pay only our share of the loss. Our share is the proportion
that our limit of liability bears to the total of all applicable limits. However, any insurance we provide with respect
to a "non-owned auto" shall be excess over any other collectible source of recovery including, but not limited to:
     1. Any coverage provided by the owner of the "non-owned auto".
   2. Any other applicable physical damage insurance.
   3. Any other source of recovery applicable to the loss.



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APPRAISAL
A. If we and you do not agree on the amount of loss, either may demand an appraisal of the loss. In this event,
   each party will select a competent and impartial appraiser. The two appraisers will select an umpire. The
   appraisers will state separately the actual cash value and the amount of loss. If they fail to agree, they will
   submit their differences to the umpire. A decision agreed to by any two will be binding. Each party will:
   1. Pay its chosen appraiser; and
   2. Bear the expenses of the appraisal and umpire equally.
B. We do not waive any of our rights under this Policy by agreeing to an appraisal.
PART E - DUTIES AFTER AN ACCIDENT OR LOSS
We have no duty to provide coverage under this Policy if the failure to comply with the following duties is
prejudicial to us:
A. We must be notified promptly of how, when and where the accident or loss happened. Notice should also
   include the names and addresses of any injured persons and of any witnesses.
B. A person seeking any coverage must:
   1. Cooperate with us in the investigation, settlement or defense of any claim or suit.
   2. Promptly send us copies of any notices or legal papers received in connection with the accident or loss.
   3. Submit, as often as we reasonably require:
      a. To physical exams by physicians we select. We will pay for these exams.
       b. To examination under oath and subscribe the same.
       c. To recorded statements.
   4. Authorize us to obtain:
       a. Medical reports; and
       b. Other pertinent records.
   5. Submit a proof of loss when required by us.
C. A person seeking Uninsured Motorists Coverage must also:
   1. Promptly notify the police if a hit-and-run driver is involved.
   2. Promptly send us copies of the legal papers if a suit is brought.
D. A person seeking Coverage For Damage To Your Auto must also:
   1. Take reasonable steps after loss to protect "your covered auto” or any "non-owned auto" and its equipment
      from further loss. We will pay reasonable expenses incurred to do this.
   2. Promptly notify the police if "your covered auto" or any "non-owned auto" is stolen.
   3. Permit us to inspect and appraise the damaged property before its repair or disposal.
PART F - GENERAL PROVISIONS
BANKRUPTCY
Bankruptcy or insolvency of the "insured" shall not relieve us of any obligations under this Policy.
CHANGES
A. This Policy contains all the agreements between you and us. Its terms may not be changed or waived except
   by endorsement issued by us.
B. If there is a change to the information used to develop the policy premium, we may adjust your premium.
   Changes during the policy term that may result in a premium increase or decrease include, but are not limited
   to, changes in:
   1. The number, type or use classification of insured vehicles;
   2. Operators using insured vehicles;
   3. The place of principal garaging of insured vehicles; or
   4. Coverage, deductible or limits.
If a change resulting from A. or B. requires a premium adjustment, we will make the premium adjustment in
accordance with our manual rules.

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C. If we make a change which broadens coverage under this edition of your policy without additional premium
   charge, that change will automatically apply to your policy as of the date we implement the change in your
   state. This paragraph (C.) does not apply to changes implemented with a general program revision that
   includes both broadenings and restrictions in coverage, whether that general program revision is implemented
   through introduction of:
   1. A subsequent edition of your policy; or
   2. An Amendatory Endorsement.
FRAUD
We do not provide coverage for any "insured" who has made fraudulent statements or engaged in fraudulent
conduct in connection with any accident or loss for which coverage is sought under this Policy.
LEGAL ACTION AGAINST US
A. No legal action may be brought against us until there has been full compliance with all the terms of this Policy.
   In addition, under Part A, no legal action may be brought against us until:
   1. We agree in writing that the "insured" has an obligation to pay; or
   2. The amount of that obligation has been finally determined by judgment after trial.
B. No person or organization has any right under this Policy to bring us into any action to determine the liability of
   an "insured".
OUR RIGHT TO RECOVER PAYMENT
A. If we make a payment under this Policy and the person to or for whom payment was made has a right to
   recover damages from another, we shall be subrogated to that right. That person shall do:
   1. Whatever is necessary to enable us to exercise our rights; and
   2. Nothing after loss to prejudice them.
   However, our rights in this paragraph (A.) do not apply under Part D, against any person using "your covered
   auto" with a reasonable belief that that person is entitled to do so.
B. If we make a payment under this Policy and the person to or for whom payment is made recovers damages
   from another, that person shall:
   1. Hold in trust for us the proceeds of the recovery; and
   2. Reimburse us to the extent of our payment.
POLICY PERIOD AND TERRITORY
A. This Policy applies only to accidents and losses which occur:
   1. During the policy period as shown in the Declarations; and
   2. Within the policy territory.
B. The policy territory is:
   1. The United States of America, its territories or possessions;
   2. Puerto Rico; or
   3. Canada.
   This Policy also applies to loss to, or accidents involving, "your covered auto" while being transported between
   their ports.
TERMINATION
A. Cancellation
   This Policy may be cancelled during the policy period as follows:
   1. The named insured shown in the Declarations may cancel by:
       a. Returning this Policy to us; or
      b. Giving us advance written notice of the date cancellation is to take effect.
   2. We may cancel by mailing to the named insured shown in the Declarations at the address shown in this
      Policy:
       a. At least 10 days'notice:



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         (1) If cancellation is for nonpayment of premium; or
         (2) If notice is mailed during the first 60 days this Policy is in effect and this is not a renewal or
             continuation policy; or
       b. At least 20 days' notice in all other cases.
   3. After this Policy is in effect for 60 days, or if this is a renewal or continuation policy, we will cancel only:
       a. For nonpayment of premium; or
       b. If your driver's license or that of:
         (1) Any driver who lives with you; or
         (2) Any driver who customarily uses "your covered auto”;
          has been suspended or revoked. This must have occurred:
             (a) During the policy period; or
             (b) Since the last anniversary of the original effective date if the policy period is other than one year;
                 or
       c. If the Policy was obtained through material misrepresentation.
B. Nonrenewal
   If we decide not to renew or continue this Policy, we will mail notice to the named insured shown in the
   Declarations at the address shown in this Policy. Notice will be mailed at least 20 days before the end of the
   policy period. Subject to this notice requirement, if the policy period is:
   1. Less than six months, we will have the right not to renew or continue this Policy every six months,
       beginning six months after its original effective date.
   2. Six months or longer, but less than one year, we will have the right not to renew or continue this Policy at
       the end of the policy period.
   3. One year or longer, we will have the right not to renew or continue this Policy at each anniversary of its
       original effective date.
C. Automatic Termination
   If we offer to renew or continue and you or your representative does not accept, this Policy will automatically
   terminate at the end of the current policy period. Failure to pay the required renewal or continuation premium
   when due shall mean that you have not accepted our offer.
   If you obtain other insurance on "your covered auto", any similar insurance provided by this Policy will
   terminate as to that auto on the effective date of the other insurance.
D. Other Termination Provisions
   1. We may deliver any notice instead of mailing it. Proof of mailing of any notice shall be sufficient proof of
      notice.
   2. If this Policy is cancelled, you may be entitled to a premium refund. If so, we will send you the refund. The
      premium refund, if any, will be computed according to our manuals. However, making or offering to make
      the refund is not a condition of cancellation.
   3. The effective date of cancellation stated in the notice shall become the end of the policy period.
TRANSFER OF YOUR INTEREST IN THIS POLICY
A. Your rights and duties under this Policy may not be assigned without our written consent. However, if a named
   insured shown in the Declarations dies, coverage will be provided for:
   1. The surviving spouse if resident in the same household at the time of death. Coverage applies to the
      spouse as if a named insured shown in the Declarations; and
   2. The legal representative of the deceased person as if a named insured shown in the Declarations. This
      applies only with respect to the representative's legal responsibility to maintain or use "your covered auto".
B. Coverage will only be provided until the end of the policy period.
TWO OR MORE AUTO POLICIES
If this Policy and any other auto insurance policy issued to you by us apply to the same accident, the maximum
limit of our liability under all the policies shall not exceed the highest applicable limit of liability under any one
policy.


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              THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.


                        AMENDMENT OF POLICY PROVISIONS - GEORGIA
I. Definitions
   The following is added to the Definitions section:
   Throughout the Policy, "minimum limits" refers to the following limits of liability, as required by Georgia law, to
   be provided under a policy of automobile liability insurance:
   1. $25,000 for each person, subject to $50,000 for each accident, with respect to "bodily injury"; and
   2. $25,000 for each accident with respect to "property damage".
II. Part A - Liability Coverage
   A. Exclusion A.1. is replaced by the following:
      We do not provide Liability Coverage for any "insured":
      1. Who intentionally causes "bodily injury" or "property damage" to the extent that the limits of liability for
         this coverage exceed the minimum limits of liability required by the Georgia Motor Vehicle Safety
         Responsibility Act.
   B. The following exclusion is added:
      We do not provide Liability Coverage for any "insured" for "bodily injury" to you or any "family member" to
      the extent that the limits of liability for this coverage exceed the minimum limits of liability required by the
      Georgia Motor Vehicle Safety Responsibility Act.
   C. The Other Insurance Provision is replaced by the following:
      Other Insurance
      If there is other applicable liability insurance:
      1. We will pay only our share of the loss. Our share is the proportion that our limit of liability bears to the
           total of all applicable limits.
      2. Any insurance we provide for a vehicle you do not own, including any vehicle while used as a
           temporary substitute for "your covered auto", shall be excess over any other collectible insurance
           except insurance written specifically to cover as excess over the limits of liability that apply in this
           Policy. However, we will provide primary insurance if the vehicle is owned by a person, firm or
           corporation engaged in the "business" of selling vehicles at retail. This applies only if you or a "family
           member":
          a. Are operating the vehicle; and
          b. Are neither the owner of the vehicle nor that person's employee.
III. Part B - Medical Payments Coverage
   The Other Insurance Provision of Part B is replaced by the following:
   Other Insurance
   If there is other applicable auto medical payments insurance:
        1. We will pay only our share of the loss. Our share is the proportion that our limit of liability bears to the
           total of all applicable limits.
        2. Any insurance we provide with respect to a vehicle you do not own, including any vehicle while used as
           a temporary substitute for "your covered auto", shall be excess over any other collectible auto
           insurance providing payments for medical or funerai expenses. However, we will provide primary
           insurance if the vehicle is owned by a person, firm or corporation engaged in the "business" of selling
           vehicles at retail. This applies only if you or a "family member":
          a. Are operating the vehicle; and
          b. Are neither the owner of the vehicle nor that person's employee.
IV. Part D - Coverage For Damage To Your Auto
   The Other Sources Of Recovery Provision of Part D is replaced by the following:


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   Other Sources Of Recovery
      1. If other sources of recovery also cover the loss, we will pay only our share of the loss. Our share is the
         proportion that our limit of liability bears to the total of all applicable limits.
      2. Any insurance we provide with respect to a "non-owned auto" shall be excess over any other collectible
         source of recovery including, but not limited to:
          a. Any coverage provided by the owner of the "non-owned auto".
         b. Any other applicable physical damage insurance.
         c. Any other source of recovery applicable to the loss.
          However, we will provide primary insurance if the vehicle is owned by a person, firm or corporation
          engaged in the "business" of selling vehicles at retail. This applies only if you or a "family member":
          a. Are operating the vehicle; and
         b. Are neither the owner of the vehicle nor that person's employee.
V. Part E - Duties After An Accident Or Loss
   The following is added to Paragraph A. of Part E:
   The requirement for giving notice of a claim, if not satisfied by the insured within 30 days of the date of the
   accident, may be satisfied by an injured third party who, as the result of such accident, has a claim against the
   insured. However, notice of a claim given by an injured third party to an insurer shall be accomplished by mail.
VI. Part F - General Provisions
  A. The Our Right To Recover Payment Provision is amended as follows:
     1. With respect to Part B - Medical Payments Coverage:
          a. Paragraph A. does not apply.
         b. Paragraph B. is replaced by the following:
            If we make a payment under this Policy and the person to or for whom payment is made recovers
            damages from another, that person shall:
           (1) Hold in trust for us the proceeds of the recovery; and
           (2) Reimburse us to the extent of our payment after that person has been fully compensated for
                damages. However, any reimbursement due to us shall be reduced by our pro rata share of
                attorneys' fees and expenses of litigation incurred in bringing the claim.
      2. With respect to Part C - Uninsured Motorists Coverage, the following provision is added:
         We shall be entitled to a recovery under Paragraph A. or B. only after the person has been fully
         compensated for damages.
   B. The following paragraph is added to the Transfer Of Your Interest In This Policy Provision:
      If a named insured shown in the Declarations terminates their marital relationship, we will continue to
      provide coverage for the former spouse of the named insured. Coverage applies only:
      1. If we are notified of the termination of the marital relationship;
      2. If the former spouse was a resident of the same household immediately prior to the termination of the
          marital relationship; and
      3. For the lesser of 90 days or until the end of the policy period.
   C. The following is added to the Two Or More Auto Policies Provision:
      1. This provision does not apply to Uninsured Motorists Coverage.
      2. No one will be entitled to receive duplicate payments for the same elements of loss under Uninsured
         Motorists Coverage.
   D. The following provision is added:
      Our Right To Recompute Premium
      We established the premium for this Policy based on the statements you made in the application for
      insurance. We have the right to recompute the premium if we later obtain information which affects the
      premium we charged.




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                                                                                                     PP0203 09/18

               THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.


                                   TERMINATION PROVISIONS - GEORGIA
PART F - GENERAL PROVISIONS
The Termination Provision is replaced by the following:
Termination
A. Cancellation
   This Policy may be cancelled during the policy period as follows:
   1. The named insured shown in the Declarations may cancel by:
      a. Returning this Policy to us; or
      b. Giving us or our authorized agent advance notice of cancellation in one of the following ways:
          (1) Orally;
          (2) Electronically; or
          (3) Mailing or delivering to us written notice;
      stating a future date on which the Policy is to be cancelled.
      a. If only your interest is affected, the effective date of the cancellation shall be either the date:
         (1) This Policy is returned to us;
         (2) We receive your notice of cancellation; or
         (3) Specified in the notice;
         whichever is later.
         However, if the named insured gives us or our authorized agent advance notice of cancellation, we
         may waive the requirement that the notice state the future date of cancellation by confirming the date
         and time of cancellation to the named insured.
      b. If by statute, regulation or contract the Policy may not be cancelled unless notice is given to a
         government agency, mortgagee or other third party, we will mail or deliver at least 10 days' notice to
         you and any third party as soon as practicable after receiving your request for cancellation. Our notice
         will state the effective date of the cancellation which shall be the later of the following:
         (1) Ten days from the date of mailing or delivery of our notice; or
         (2) The effective date of cancellation stated in your notice to us.
      c. In the event of oral cancellation, we shall, within 10 days provide you, electronically or in writing,
          confirmation of such requested cancellation.
      d. We may require that you provide written, electronic or other recorded verification of the request for
          cancellation prior to such cancellation taking effect.
   2. We may cancel by mailing to the named insured shown in the Declarations at the address last known by
      us:
      a. At least 10 days' notice:
         (1) If cancellation is for nonpayment of premium; or
         (2) When this Policy is in effect for less than 60 days and is not a renewal or continuation policy; or
      b. At least 30 days' notice in all other cases.
   3. When this Policy is in effect for 60 days or more, or if this is a renewal or continuation policy, we will cancel
      only if:
      a. The named insured failed to pay the premium for this Policy or any installment thereof;
      b. The Policy was obtained through material misrepresentation;
      c. The named insured failed to disclose, if requested in the application process:
         (1) A record of motor vehicle accidents and moving traffic violations for the preceding 36 months; or
         (2) Information necessary for the acceptance or proper rating of the risk;

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     d. The named insured made a false or fraudulent claim or knowingly aided or abetted another in the
         presentation of such a claim;
     e. You, any other driver who lives with you, or any other driver who customarily operates "your covered
         auto":
        (1) Violates any of the terms and conditions of the Policy;
        (2) Is or becomes subject to epilepsy or heart attacks and does not produce a certificate from a doctor
            testifying to the individual's ability to operate a motor vehicle;
        (3) Has an accident record, a conviction record (criminal or traffic), or a physical, mental, or other
            condition which is such that the operation of an auto might endanger the public safety;
        (4) Has, within the 36 months prior to the notice of cancellation:
           (a) Had his or her driver's license suspended or revoked; or
           (b) Been addicted to the use of narcotics or other drugs;
        (5) Has been convicted or forfeited bail during the 36 months preceding the notice of cancellation for;
           (a) Any felony;
           (b) Criminal negligence resulting in death, homicide, or assault arising out of the operation of a
               motor vehicle;
           (c) Operating a motor vehicle while in an intoxicated state or while under the influence of drugs;
           (d) Being intoxicated while in or about an auto or while having custody of an auto;
           (e) Leaving the scene of an accident without stopping to report;
            (f) Theft or unlawful taking of a motor vehicle;
           (g) Making false statements in an application for motor vehicle operator's license; or
           (h) Three or more violations of:
               (i) Any law, ordinance, or regulation limiting the speed of motor vehicles; or
              (ii) Any provisions of the motor vehicle laws of any state, the violation of which constitutes a
                   misdemeanor;
               whether or not the violations were repetitions of the same offense or different offenses;
      f. "Your covered auto" is:
        (1) So mechanically defective that its operation might endanger the public;
        (2) Used in carrying passengers for hire or compensation. This does not include a car pool;
        (3) Used in the transportation of flammables or explosives;
        (4) An authorized emergency vehicle; or
        (5) Changed in shape or condition during the policy period so as to substantially increase the risk.
B. Nonrenewal
  If we decide not to renew or continue this Policy, we will mail notice to the named insured shown in the
  Declarations at the address last known by us. Notice will be mailed at least 30 days before the end of the
  policy period. Subject to this notice requirement, if the policy period is;
  1. Less than six months, we will have the right not to renew or continue this Policy every six months,
      beginning six months after its original effective date.
  2. Six months or longer, but less than one year, we will have the right not to renew or continue this Policy at
      the end of the policy period.
  3. One year or longer, we will have the right not to renew or continue this Policy at each anniversary of its
      original effective date.
  Our right to nonrenew this Policy is subject to the limitations contained in the applicable Georgia Statutes.
C. Automatic Termination
  If we offer to renew or continue and you or your representative does not accept, this Policy will automatically
  terminate at the end of the current policy period. Failure to pay the required renewal or continuation premium
  when due shall mean that you have not accepted our offer.
  If you obtain other insurance on "your covered auto", any similar insurance provided by this Policy will
  terminate as to that auto on the effective date of the other insurance.

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D. Other Termination Provisions
   1. We may deliver any notice instead of mailing it. A receipt provided by, or such other evidence of mailing as
      prescribed or accepted by, the U.S. Postal Service shall be sufficient proof of notice.
   2. If this Policy is cancelled, you may be entitled to a premium refund. If so, we will send you the refund. The
      premium refund, if any, will be computed according to our manuals. However, making or offering to make
      the refund is not a condition of cancellation.
   3. The effective date of cancellation stated in the notice shall become the end of the policy period.
   4. If we decide to cancel or nonrenew this Policy, we will give the same advance notice of cancellation or
      nonrenewal to the loss payee or other third party stated in the Policy as we give to the named insured
      shown in the Declarations.




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                                                                                                  PP0454 09/18

               THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.


                       UNINSURED MOTORISTS COVERAGE ADDED ON TO
                            AT-FAULT LIABILITY LIMITS - GEORGIA
PART C - UNINSURED MOTORISTS COVERAGE
Part C is replaced by the following:
Insuring Agreement
A. We will pay compensatory damages in excess of any applicable deductible shown in the Declarations for this
   coverage which an "insured" is legally entitled to recover from the owner or operator of an "uninsured motor
   vehicle" because of:
   1. "Bodily injury" sustained by an "insured" and caused by an accident; and
   2. "Property damage" caused by an accident.
   The owner's or operator's liability for these damages must arise out of the ownership, maintenance or use of
   the "uninsured motor vehicle". We will pay under this coverage only after the limits of liability under any
   applicable liability bonds or policies have been exhausted by payment of judgments or settlements. However,
   if a settlement is made between an "insured" and the insurer of the "uninsured motor vehicle" for an amount
   that does not exhaust the limits of liability under any applicable liability bonds or policies, we will not pay under
   this coverage unless we previously consented to such settlement in writing.
   Any judgment for damages arising out of a suit brought without our written consent is not binding on us.
B. "Insured” as used in this endorsement means:
   1. You or any "family member".
   2. Any other person "occupying" "your covered auto"; or
   3. Any person for damages that person is entitled to recover because of "bodily injury" to which this coverage
      applies sustained by a person described in 1. or 2. above.
C. "Property damage” as used in this endorsement means injury to or destruction of:
   1. "Your covered auto" (including its resulting loss of use).
   2. Any property owned by a person listed in 1. or 2. of the definition of "insured" while contained in "your
      covered auto".
D. "Uninsured motor vehicle" means a land motor vehicle or trailer of any type:
   1. To which there is neither:
      a. Cash or securities on file with the Georgia Director of Public Safety; nor
      b. A liability bond or policy;
      applicable at the time of the accident.
   2. To which a liability bond or policy applies at the time of the accident but its limit of liability either:
      a. Is not enough to pay the full amount the "insured" is legally entitled to recover as damages; or
      b. Has been reduced by payments to others to an amount which is not enough to pay the full amount the
         "insured" is legally entitled to recover as damages.
   3. Which is a hit-and-run vehicle whose operator or owner cannot be identified and which hits or which
      causes an accident resulting in "bodily injury" or "property damage" without hitting:
       a. You or any "family member";
      b. A vehicle which you or any "family member" are "occupying"; or
       c. "Your covered auto".
      If there is no physical contact with the hit-and-run vehicle, the facts of the accident must be corroborated
      by an eyewitness to the accident other than the "insured" making the claim.
   4. To which a liability bond or policy applies at the time of the accident but the bonding or insuring company:
      a. Denies coverage; or

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     b. Is or becomes insolvent.
   However, "uninsured motor vehicle" does not include any vehicle or equipment:
   1. Owned by or furnished for the regular use of you or any "family member".
   2. Operated on rails or crawler treads.
   3. Designed mainly for use off public roads while not on public roads.
   4. While located for use as a residence or premises.
Exclusions
A. We do not provide Uninsured Motorists Coverage for "property damage" or "bodily injury" sustained by any
   "insured":
   1. If that "insured" or the legal representative settles the "bodily injury" or "property damage" claim without our
       consent. However, an "insured" may, without our consent, release the insurer of the "uninsured motor
       vehicle" from further obligation to pay damages after accepting from such insurer a settlement which
       exhausts the limits of liability under any applicable liability bonds or policies.
   2. When "your covered auto" is being used as a public or livery conveyance. This includes but is not limited to
       any period of time "your covered auto" is being used by any "insured" who is logged into a "transportation
       network platform" as a driver, whether or not a passenger is "occupying" the vehicle.
       This exclusion (A.2.) does not apply:
       a. To a share-the-expense car pool; or
      b. When "your covered auto" is being used for volunteer or charitable purposes.
   3. Using a vehicle without a reasonable belief that that "insured" is entitled to do so. This exclusion (A.3.)
      does not apply to a "family member" using "your covered auto" which is owned by you.
   4. If the property is contained in or struck by a motor vehicle (other than "your covered auto") owned by you
      or any "family member".
   5. While "occupying", or when struck by, "your covered auto" while:
      a. Enrolled in a personal vehicle sharing program under the terms of a written agreement; and
      b. Being used in connection with such personal vehicle sharing program by anyone other than you or any
         "family member".
   6. While "occupying", or when struck by, any vehicle which is designed or can be used for flight.
B. This coverage shall not apply directly or indirectly to benefit:
   1. Any insurer or self-insurer under any of the following or similar law:
       a. Workers' compensation law; or
       b. Disability benefits law.
   2. Any insurer of property.
C. We do not provide Uninsured Motorists Coverage for punitive or exemplary damages.
Limit Of Liability
A. The limit of "bodily injury" liability shown in the Declarations for each person for Uninsured Motorists Coverage
   is our maximum limit of liability for all damages, including damages for care, loss of services or death, arising
   out of "bodily injury” sustained by any one person in any one accident. Subject to this limit for each person,
   the limit of "bodily injury" liability shown in the Declarations for each accident for Uninsured Motorists
   Coverage is our maximum limit of liability for all damages for "bodily injury" resulting from any one accident.
   The limit of "property damage” liability shown in the Declarations for each accident for Uninsured Motorists
   Coverage is our maximum limit of liability for all "property damage" resulting from any one accident.
   This is the most we will pay regardless of the number of:
   1. "Insureds";
   2. Claims made;
   3. Vehicles or premiums shown in the Declarations; or
   4. Vehicles involved in the accident.
B. No one will be entitled to receive duplicate payments for the same elements of loss under this coverage and:
   1. Part A or Part B of this Policy; or

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   2. Any Personal Property Coverage provided by this Policy.
C. We will not make a duplicate payment under this coverage for any element of loss for which payment has
   been made by or on behalf of persons or organizations who may be legally responsible.
D. We will not pay for any element of loss if a person is entitled to receive payment for the same element of loss
   under any workers' compensation law.
E. No payment will be made for loss paid or payable to the "insured" under Part D of the Policy.
Other Insurance
If there is other applicable similar insurance available under more than one policy or provision of coverage that is
similar to the insurance provided under this Part of the Policy:
     1. The following priorities of recovery apply:

      First  The Policy affording Uninsured Motorists Coverage to the ''insured" as a named insured or
             family member.
      Second The Uninsured Motorists Coverage applicable to the vehicle the "insured" was occupying at
             the time of the accident.

   2. We will pay only for our share of the loss. Our share is the proportion that our limit of liability bears to the
      total of all limits applicable on the same level of priority.




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                                                                                                PP2315 09/18

               THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.
                   NAMED DRIVER EXCLUSION ENDORSEMENT - GEORGIA
With respect to the coverage(s) for which the Named Driver Exclusion applies, the provisions of the Policy apply
unless modified by the endorsement.

  The Named Driver Exclusion Endorsement applies with respect to the "named excluded driver" indicated in
  the Declarations.


I. Definitions
   The following definition is added:
   "Named excluded driver" means a person who is shown in the Declarations as a named excluded driver.
II. Named Driver Exclusion
    With respect to the coverages to which this endorsement applies, as indicated in the Declarations, we will not
    pay damages, expenses or loss arising out of the maintenance or use of any auto or trailer by the "named
    excluded driver".




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                                                                                                   14-3115 06/05


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IS:
               CENTRAL
               INSURANCE
               COMPANIES
Fulfilling the Promise Since 1876




                  POLICYHOLDER NOTIFICATION OF RIGHT TO REQUEST
                            UPDATED INSURANCE SCORE
The Official Code of Georgia (title 33, Chapter 24, Section 91) requires that upon the request of the consumer,
an insurer shall reunderwrite and rerate an annual renewal policy based upon a current insurance score. If your
policy is reunderwritten or rerated with a current insurance score, this may result in no change in rate, a higher
rate, a lower rate, or other possible consequences. If you would like to request that we reunderwrite or rerate the
policy based upon a current insurance score, please contact your agent at the address and phone number listed
on the Declarations page.




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                                                                                              20-1456 09/86
                     HOMEOWNERS-AUTOMOBILE DEDUCTIBLE WAIVER
If one loss damages both your home and auto(s), we will apply only one deductible to the combined amount of
the loss provided you have insurance with us for auto and homeowners and each policy provides coverage. We
will apply the larger deductible. We will not use this endorsement if otherwise you would receive a larger
payment. All other provisions of this policy apply.




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                                                                                                   20-1768 08/91

                                            Provisions Applicable To
                             CENTRAL MUTUAL INSURANCE COMPANY
                                         MUTUAL POLICY CONDITIONS

This policy is issued by a Mutual Company. We have special regulations that apply by law to our organization,
membership, policies and contracts. The following forms a part of your policy:
This policy is nonassessable. You are not subject to any contingent liability nor liable for any assessment.
The Board of Directors, at their discretion, may determine and pay you any unused premiums (dividends).


                                         NOTICE OF ANNUAL MEETING

You are hereby notified that by virtue of this policy, you are a member of the Central Mutual Insurance Company
and are entitled to vote either in person or by proxy at any and all meetings of our Company. The annual
meetings are held at our home office, Van Wert, Ohio, on the second Wednesday of May in each year at two
o’clock P.M.




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                                                                                           20-1769 08/91

                   PROVISIONS APPLICABLE TO CENTRAL MUTUAL AND
                         ALL AMERICA INSURANCE COMPANIES

IN WITNESS WHEREOF, we have executed and attested this policy. If required by state law, this policy is not
valid unless it is countersigned by our authorized representative.




   a
       President                                     Secretary




20-1769 08/91
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                                                                                                       20-2088 06/19

        CENTRAL
        iNSURANCE

        EXCELLENCE IS OUP POLICY.'




                                        Central Insurance Companies
                                               Privacy Notice

At the Central Insurance Companies (Central), we are committed to providing you with the best insurance
products backed by consistent, top-quality service. While personal information about you is fundamental to our
ability to do this, your privacy is also very important to us. This notice will tell you about our privacy policy and the
practices we use in handling our nonpublic personal information.
What kind of personal information do we collect about you and from whom?
Central obtains most of our information directly from you. The application you complete, as well as any additional
information you provide, generally gives us most of the information we need to know. We may also collect
personal information about you from any of your other transactions with us, our affiliates, or others. Third party
sources of personal information might include, government agencies, consumer reporting agencies, courts, and
other public records. The types of personal information we gather depends on the nature of your insurance
transaction. For auto insurance, we quite often obtain information from your motor vehicle records. For property
coverages, we may send someone to inspect your property and verify information about its value and condition.
A photo of any property to be insured might be taken. We may review insurance claims information and other loss
information reports, and we may also obtain medical or financial information to adjust some claims. At times we
may review personal information contained in consumer reports provided to us by a consumer reporting agency.
The agency that prepares a consumer report for us may retain that report and disclose it to other persons as
permitted by law.
What do we do with the personal information collected about you?
Personal information that has been collected about you may be retained in both our records and in your agent’s
files. We review it in evaluating your request for insurance coverage and in determining your rates. We will also
refer to and use such information in our policy records for purposes related in issuing and servicing insurance
policies and settling claims. We do retain information about our former customers in our files for Insurance
Department market conduct purposes and for use in handling claims submitted to us after policy termination.
If coverage is declined or the charge for coverage is increased because of information contained in a consumer
report we obtained, we will tell you as required by state law and the federal Fair Credit Reporting Act. We also will
give you the name and address of the consumer reporting agency making the report.

How do we safeguard the personal information in our records?
Central uses a variety of physical, electronic, and procedural safeguards to protect the confidentiality and security
of your personal information in our possession. We also limit our employees’ access to your personal information
to those with a business reason for knowing such information. Central also instructs our employees so that they
will understand the importance of the confidentiality of personal information, and takes appropriate measures to
enforce employee privacy responsibilities.
To whom do we disclose personal information about you?
We do not disclose any personal information about our customers or former customers, except as permitted by
law. That means we may make disclosures to the following types of third parties, if necessary, without your
consent:
•   Our affiliated property and casualty insurance companies;
•   Your independent agent or broker;
•   Parties who perform a business, professional, or insurance function for our company;
•   Independent claims adjusters, appraisers, investigators, medical professionals, and attorneys who need
    the information to investigate, defend, or settle a claim involving you;
•   Businesses that conduct scientific research, including actuarial or underwriting studies;



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•   Consumer reporting agencies as reasonably necessary in connection with any application, policy, or claim
    involving you;
•   Insurance support organizations which are established to collect information for the purpose of detecting
    and preventing insurance crimes or fraudulent claims;
«   Insurance regulatory agencies in connection with the regulation of our business;
•   Law enforcement or other governmental authorities to protect our legal interests or in cases of suspected
    fraud or illegal activities;
•   Certificateholders or policyholders for the purpose of providing information regarding the status of an
    insurance transaction; or
•   Lienholder, mortgagees, lessors, or other persons shown on our records as having a legal or beneficial
    interest in your policy.

How can you find out about personal information we have about you?
You are entitled to know what kind of personal information we keep in our files about you, to have reasonable
access to it, and to receive a copy. Contact us at any of the ways provided at the end of this notice if you have
questions about what personal information we may have on file. Tell us what information you would like to
receive. Provide your complete name, address, and all policy or claim numbers issued to you by us.
Within thirty (30) business days of receipt of your request, we will inform you in writing of the nature and
substance of locatable, retrievable, and available recorded personal information about you in our files. You may
review this information in person or receive a copy at a reasonable charge. We will also identify any person or
organizations listed in our records to whom we have disclosed this information within the past two (2) years. In
addition, you will be given the name and address of any consumer credit reporting agency that prepared a report
about you so that you can contact them for a copy of that report if you wish.
After you have reviewed the personal information about you in our file, you can contact us if you believe it should
be corrected, amended, or deleted. Tell us what you think is wrong and why. We will consider your request and
within thirty (30) business days either change our files or tell you that we did not and the reason. If we do not
make changes, you will have the right to insert in our file a concise statement containing what you believe to be
the correct, relevant, or fair information and explaining why you believe the information on file to be improper.
We will notify persons designated by you to whom we have previously disclosed the information of the change of
your statement. Subsequent disclosures we make also will include your statement.
Domestic Abuse Procedure
In addition to the aforementioned privacy policies, we have additional procedures in place to handle personal
information regarding persons who are victims of domestic abuse. If you wish to claim domestic abuse status or
invoke Central’s domestic abuse safeguards, please contact us as set forth below.
How to Contact Us Regarding Use of Your Personal Information
Please use the following information to contact us regarding our privacy policies. Remember to include your
name, address, policy, or claim number.

                                                Privacy Coordinator
                                           Central Insurance Companies
                                           800 South Washington Street
                                            Van Wert, Ohio 45891-2381
                                E-mail: privacycoordinator@central-insurance.com
The Central Insurance Companies include: Central Mutual Insurance Company and All America Insurance
Company.




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                                                                                                     20-2143 06/14


          CENTRAL
          INSURANCE

          EXCELLENCE ti OuR PCLiCv.’




                                         AVAILABLE PAY PLANS
The company offers.
1.   EFT Plans (Electronic Funds Transfer): ** No service fees apply to any of the EFT plans. **
     a.       Annual EFT - the premium is paid in one installment withdrawn on the effective date of the policy.
     b.       Semi-Annual EFT —the premium is paid in two installments, withdrawn six months apart.
     c.       Quarterly EFT —the premium is paid in four installments, withdrawn three months apart.
     d.       Monthly EFT —the premium is paid in twelve monthly withdrawals.
2.   NON-EFT Plans:
     a.       Annual — the premium is paid in one installment due on the effective date of the policy. No service fees
              apply.
     b.       Semi-Annual — the premium is paid in two installments due six months apart. Service fees apply.
     c.       Quarterly - the premium is paid in four installments due three months apart. Service fees apply.
     d.       Monthly - the premium is paid in twelve monthly installments. Service fees apply.

We offer account billing on each of the above plans which allows for multiple policies to be billed together on a
single account. We require separate billing accounts for personal and commercial lines policies.

Please note, the above plans may not apply to all types of policies.




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                                                                                                      3-2799 01/08



S              CENTRAL
               INSURANCE
               COMPANIES
Fulfilling the Promise Since 1876


               GEORGIA NOTICE OF UNINSURED MOTORISTS COVERAGE
                                    Uninsured Motorists Coverage Notification
As outlined in Chapter 120-2-28.06 of the Georgia Motor Vehicle Accident Reparations Act we are required by the
rules of the Office of the Commissioner of Insurance to provide you the following notice of Uninsured Motorist
Coverage:
If you have chosen to accept Uninsured Motorists coverage from your automobile insurance company, and have
any questions after reading this statement regarding Uninsured Motorists coverage or the amount of coverage
you have selected, your agent or company representative will be able to assist you.
You should have chosen the amount of Uninsured Motorists coverage you want based on this question:
“If I get hit by someone with little or no liability insurance, how much protection do I need to cover the cost asso­
ciated with car repair, medical bills, other expenses, and lost wages?”
If the person who hits your automobile has no liability coverage or liability coverage equal to or less than the
Uninsured Motorists amount you chose, your total automobile insurance recovery (from all companies involved)
may not exceed the amount of Uninsured Motorists coverage you chose.
“The purpose of this notice is informational. This notice does not change or replace the wording in your policy."




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                                                                                                        3-2986 05/15

                             CENTRAL SIGNATURE5"1 AUTO ENDORSEMENT

If a premium charge appears on the Declarations for this endorsement, then the following provisions apply:

         WAIVER OF DEDUCTIBLE UNDER "COLLISION" AND OTHER THAN "COLLISION" COVERAGE

If Other Than “Collision” and “Collision” Coverage is shown on the Declarations as applying to “your covered auto”
or a “non-owned auto,” then the following is applicable:

A. The deductible amount shall not apply to a loss covered under “Collision” Coverage to “your covered auto" or
   a “non-owned auto:”

    1.    if it is involved in an accident with another auto insured by us; or

    2.    if it is involved in an accident with an “uninsured motor vehicle”; or

    3.    while it is in the charge of an “insured”, legally parked, and unoccupied.

This paragraph A.3. does not apply to any loss if “your covered auto” is in the charge of any “insured" or
organization engaged in the automobile business or if the total amount of the damage to “your covered auto” or a
“non-owned auto" is $250 or less.

B. The deductible amount shall not apply to a glass loss covered under Other Than “Collision” Coverage to “your
   covered auto” or a “non-owned auto".

C. The deductible amount does not apply to a loss covered under Other Than “Collision” Coverage or “Collision”
   Coverage if “your covered auto” or a “non-owned auto” is declared a total loss.

                                     TOWING AND LABOR COSTS COVERAGE

We will pay a reasonable amount for towing and labor costs incurred each time “your covered auto” or
“non-owned auto” is disabled.

The limit of our liability for any one loss is $250.

This is additional insurance. No deductible applies to this Coverage.

                                    TRANSPORTATION EXPENSES COVERAGE

The Transportation Expenses provision of Part D of the Policy is replaced by the following:

A. In addition, we will pay, without application of a deductible, up to a maximum of $3,000 for:

    1.    Temporary transportation expenses incurred by you in the event of a loss to “your covered auto". We will
          pay for such expenses if the loss is caused by:

          a.   Other than “collision” only if the Declarations indicate that Other Than Collision Coverage is provided
               for that auto.

          b. “Collision" only if the Declarations indicate that Collision Coverage is provided for that auto.

    2.    Expenses for which you become legally responsible in the event of loss to a “non-owned auto.” We will
          pay for such expenses if the loss is caused by:
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            a.   Other than "collision” only if the Declarations indicate that Other Than Collision Coverage is provided
                 for any “your covered auto.”

            b. “Collision” only if the Declarations indicate that Collision Coverage is provided for any “your covered
                 auto.”

B. If the loss is caused by:

     1.     A total theft of “your covered auto” or a “non-owned auto,” we will pay only expenses incurred during the
            period:

            a.   Beginning 48 hours after the theft; and

            b. Ending when “your covered auto” or the “non-owned auto” is returned to use or we pay for its loss.

     2.     Other than theft of a “your covered auto” or a “non-owned auto,” we will pay only expenses beginning
            when the auto is withdrawn from use for more than 24 hours.

C. Our payment will be limited to that period of time reasonably required to repair or replace the “your covered
   auto” or the “non-owned auto.”

                                            PERSONAL EFFECTS COVERAGE

We will pay for loss of clothing and personal luggage (including contents) which belong to you or any “family
member” while such articles are in or on “your covered auto.” However, the loss must be caused by:

1. fire;

2. lightning;

3. flood;

4. falling objects;

5. explosion;

6. earthquake;

7. theft of the entire automobile; or

8. “collision," if “Collision” Coverage is afforded under this policy.

The limit of liability for any one loss is $500. This is additional insurance. No deductible applies to this Coverage.

                                      DOUBLED MEDICAL PAYMENTS COVERAGE

If you have purchased Medical Payments Coverage under Part B, the limit of liability as shown on the
Declarations will be doubled in the event an “insured” is injured in an accident while wearing a seat belt.

                                      AUTOMOBILE DEATH BENEFIT COVERAGE

We will pay $2,500 in the event of “bodily injury" resulting in your death caused by an accident while you are:

1.   “occupying” a four-wheel private passenger automobile; or



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2.   a pedestrian if struck by any licensed highway vehicle.

The Death Benefit will be paid to the surviving spouse, if living; otherwise to your estate.

Exclusions

This coverage does not apply to:

1.   death which occurs more than ninety days after the date of the accident;

2.   suicide, whether you are sane or insane; or

3.   death due to war.

Conditions

1.   This coverage is not cumulative, regardless of the number of cars insured or the number of policies issued to
     you by us.

2.   We shall have the right and opportunity to make an autopsy where it is not forbidden by law.

                                     RENTAL CAR LOSS OF USE COVERAGE

In the event of covered loss to a private passenger vehicle that you are renting from a licensed rental agency, we
will pay the loss of profits, not to exceed the normal rental fee, which would have been earned if the rented
vehicle had not been damaged. The following conditions apply:

1.   There is a loss to the rental vehicle caused by ‘‘Collision’’ or Other Than “Collision.”

2.   You are liable by rental contract to continue to pay the rental fee as a result of the covered loss that would
     prevent the rental of the vehicle to others.

3.   Coverage will begin the day following the loss to the vehicle, provided you have promptly notified us of the
     loss, and will end the earlier of:

     a.   the day repairs are completed; or

     b.   the day we make payment for the replacement of the rental car; or

     c.   thirty (30) days after this Coverage began.

Our limit of liability for any one occurrence will be $1,000. This is additional insurance. No deductible applies to
this Coverage.

                                       AIR BAG REPLACEMENT COVERAGE

We will pay the cost of replacing an air bag in “your covered auto,” if it deploys without the auto being involved in
an accident.

This is additional insurance. No deductible applies to this Coverage.

                                   COVERAGE FOR ELECTRONIC EQUIPMENT

Exclusions 4. and 5. of Part D - Coverage For Damage To Your Auto - do not apply to the insurance provided in
this coverage section of the endorsement.

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Insuring Agreement

We will pay for direct and accidental loss to:

1.   Any electronic equipment that reproduces, receives, or transmits audio, visual or data signals;

2.   Any accessories used with such equipment; and

3.   Tapes, records, discs or other media,

if they are owned by you or a “family member."

This coverage applies only if the electronic equipment, the accessories, the tapes, records, discs or other media,
are in or upon

1.   “Your covered auto”; or

2.   Any “non-owned auto” which is leased or rented by you at the time of the loss.

Deductible

Payment under this section for all covered losses arising out of any one occurrence shall be subject to the vehicle
deductible or a $50 deductible, whichever is greater.

Exclusion

We will not pay under this endorsement for any loss to electronic equipment that is permanently installed in “your
covered auto” or any “non-owned auto."

Limit of Liability

With respect to coverage under this endorsement,

1.   Our limit of liability for the total of all losses to electronic equipment that reproduces, receives, or transmits
     audio, visual, or data signals and any accessories used with the equipment, as a result of any one occurrence
     shall be the lesser of:

     a.   $1,000;

     b. the actual cash value of the stolen or damaged property; or

     c.   the amount necessary to repair or replace the property with other property of like kind and quality.

2.   Our limit of liability for the total of all losses to tapes, records, discs or other media, as a result of any one
     occurrence shall be the lesser of:

     a.   $200;

     b. the actual cash value of the stolen or damaged property; or

     c.   the amount necessary to repair or replace the property with other property of like kind and quality.

The limit of liability for electronic equipment that reproduces, receives, or transmits audio, visual, or data signals
and accessories used with the equipment is in addition to the limit of liability applicable for losses to tapes,
records, discs or other media.

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3.   An adjustment for depreciation and physical condition will be made in determining actual cash value in the
     event of a total loss.

4.   If a repair or replacement results in better than like kind or quality, we will not pay for the amount of the
     betterment.

                                        AUTO LOAN/LEASE GAP COVERAGE

In the event of a covered total loss under Part D of the policy to “your covered auto" which is financed under a
purchase agreement or is leased, we will pay, subject to the limit of liability, any unpaid amount due on the loan or
lease for “your covered auto” less:

1.   the amount paid under Part D of the policy; and

2.   any:

     a.   overdue loan or lease payments at the time of the loss;

     b. financial penalties imposed under a lease for excessive use, abnormal wear and tear or high mileage;

     c.   security deposits not refunded by a lessor;

     d. costs for extended warranties, Credit Life insurance, Health, Accident or Disability insurance purchased
          with the loan or lease; and

     e.   carry-over balances from previous loans or leases.

Exclusion

The Coverage provided by this endorsement does not apply to any “your covered auto” financed under a
purchase agreement which has been owned by you for more than 1,825 days. This exclusion does not apply to
any “your covered auto” which is leased.

Limit of Liability

Our payment under this coverage for “your covered auto” which is financed under a purchase agreement is
limited to an amount which is no more than twenty-five percent of the actual cash value of “your covered auto” as
determined by us at the time of the loss. This limitation does not apply to “your covered auto” which is leased.

With respect to the Coverage provided by this endorsement, the provisions of the policy apply unless specifically
modified by this endorsement.

                                         LOCK REPLACEMENT COVERAGE

If the keys to “your covered auto” are lost or stolen, we will pay the cost of replacing the locks with like kind and
quality up to $500. However, in order for coverage to apply, you must notify the police and us within 72 hours of
discovering the loss.

This is additional insurance. No deductible applies to this Coverage.

                                                LOCKOUT COVERAGE

If the keys to “your covered auto” are locked inside the vehicle, we will reimburse you up to $100 for locksmith
expenses.



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This is additional insurance. No deductible applies to this Coverage.

               FIRE, POLICE, RESCUE SQUAD & AMBULANCE SERVICE CHARGE COVERAGE

If “you” or a “family member” has an auto accident in “your covered auto,” we will pay up to $500 in service
charges that are assessed by a responding fire or police department, rescue squad or ambulance service. The
$500 limit of liability is the most we will pay for the total of all assessments received as a result of any single auto
accident.

This is additional insurance. No deductible applies to this Coverage.

                                               PET INJURY COVERAGE

Definition

For purposes of this coverage, “covered pet” means any cat or dog owned by you or a “family member” while
inside “your covered auto” or any “non-owned auto."

Insuring Agreement

In the event of a covered loss under Part D of the policy, we will pay:

1.   Up to $1,000 in reasonable and customary veterinarian expenses, as determined by us, if the “covered pet” is
     injured; or

2.   A $1,000 death benefit if the “covered pet” is killed.

Limit of Liability

1.   The most we will pay for any one loss to a “covered pet" is $1,000 even if more than one “covered pet” is
     involved.

2.   If your “covered pet” dies in a covered loss, the $1,000 death benefit is reduced by any payment made
     toward reasonable and customary veterinarian expenses.

This is additional insurance. No deductible applies to this Coverage.

                                        CHILD SAFETY SEATS COVERAGE

We will pay to replace child safety seats that are in “your covered auto” or any “non-owned auto” if loss is caused
by contact with bird or animal or “collision.”

This is additional insurance. No deductible applies to this Coverage.

                                         TRIP INTERRUPTION COVERAGE

With respect to the coverage provided by this endorsement, the provisions of the policy apply unless modified by
the endorsement.

INSURING AGREEMENT

With respect to any “your covered auto” or "non-owned auto” you or any “family member" is occupying, we will
pay, without application of a deductible, up to a maximum limit of $1,000 for reasonable:

1.   Transportation expenses incurred by you in the event of a mechanical or electrical breakdown of “your

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     covered auto” or “non-owned auto.”

2.   Expenses incurred by you for lodging and meals in the event of:

     a.   Direct and accidental loss to “your covered auto” or “non-owned auto” caused by “collision” or other than
          “collision"; or

     b.   Mechanical or electrical breakdown of “your covered auto” or “non-owned auto."

This coverage applies only if:

1.   The loss to, or mechanical or electrical breakdown of, “your covered auto" or "non-owned auto" occurs more
     than 100 miles from home; and

2.   The “your covered auto” or "non-owned auto" is withdrawn from use for at least 24 hours.

LIMIT OF LIABILITY

A. Our payment for Trip Interruption Coverage will be limited to that period of time reasonably required to:

     1.   Resume travel under a prearranged itinerary; or

     2.   Return home.

B. No one will be entitled to receive duplicate payments for the same elements of loss under this coverage and
   Part D of the policy.

          REPLACEMENT COST AND ORIGINAL EQUIPMENT MANUFACTURER PARTS COVERAGE

The Limit of Liability provision of Part D of the Policy is replaced by the following:

A. Our limit of liability for any loss which is not a total loss will be the lesser of the:

     1.   Actual cash value of the stolen or damaged property; or

     2.   Amount necessary to repair or replace the property with original equipment manufacturer parts, except
          for window glass, unless the parts are no longer available.

However, the most we will pay for loss to:

     1.   Any “non-owned auto” which is a trailer is $1,500.

     2.   Electronic equipment that reproduces, receives or transmits audio, visual or data signals, which is
          permanently installed in the auto in locations not used by the auto manufacturer for installation of such
          equipment is $1,000.

B. Our limit of liability for any loss which is a total loss will be the lesser of the:

     1.   Actual cash value of the stolen or damaged property; or

     2.   Amount necessary to repair or replace the property with original equipment manufacturer parts, except
          for window glass, unless the parts are no longer available.

However, in the event of a total loss to any “your covered auto” that is not a leased vehicle or trailer, which was a
“new vehicle” at the time you acquired it and has been owned by you for no more than 365 days, we will pay the

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cost of a new auto of the same make, model, and equipment. For purposes of this Coverage, “new vehicle”
means an automobile for which the legal title has never been transferred by a manufacturer, distributor, or dealer
to an ultimate purchaser.

The most we will pay for loss to:

    1.   Any “non-owned auto" which is a trailer is $1,500.

    2.   Electronic equipment that reproduces, receives or transmits audio, visual or data signals, which is
         permanently installed in the auto in locations not used by the auto manufacturer for installation of such
         equipment is $1,000.

                                        VEHICLE MODIFICATION COVERAGE

If you or a “family member” is permanently disabled as a result of a covered loss, we will pay up to $10,000 for
reasonable and necessary one-time “additional expenses” you incur to either purchase a vehicle that is
accessible or drivable or modify a vehicle to make it accessible or drivable for you or a “family member." Any
required vehicle acquisition or modification must be made within three years of a covered loss in order to be
eligible for this coverage. The $10,000 limit is the most we will pay regardless of the number of persons injured or
vehicles damaged as a result of a covered loss.

Under this coverage, “additional expenses” is defined as the total price or costs on a purchased or modified
vehicle of the installed equipment including but not limited to power door operators, wheelchair lifts, raised roof
systems, lowered floors, steering devices, mechanical hand controls, and pedal extensions as well as the labor to
install such features.

                                WORLDWIDE COVERAGE FOR RENTED VEHICLES

The Policy Period and Territory provision of Part F is replaced by the following:

A. This policy applies only to accidents and losses which occur:

    1.    During the policy period as shown in the Declarations; and

    2.   Within the policy territory.

B. The policy territory is:

    1.   The United States of America, its territories or possessions;

    2.    Puerto Rico; or

    3.   Canada.

This policy also applies to loss to, or accidents involving, “your covered auto” while being transported between
ports.

However, if you rent, borrow or lease a “non-owned auto" outside the policy territory, the coverage provided by
this policy will apply provided:

    1.   The mandatory insurance is purchased or provided for the rented, borrowed or leased vehicle being
         operated, as defined by the country or jurisdiction;

    2.   The rented, borrowed or leased “non-owned auto” is operated by you or a “family member”; and;



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    3.   The rental, use or lease of the “non-owned auto” is for a period of not more than 30 consecutive days.

Our limit of liability for loss involving the use of a “non-owned auto" outside the policy territory is only that part of
the loss which exceeds the limit of liability of the underlying policy mandated by the country or jurisdiction.




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                                                                                                   3-3062 05/16


                      ADVISORY NOTICE TO POLICYHOLDERS
                    REGARDING PUBLIC OR LIVERY CONVEYANCE
                       EXCLUSION INCLUDING RIDE-SHARING

This is a Notice regarding your Personal Auto Policy. No coverage is provided by this Notice nor can it be
construed to replace any provision of your policy. You should read your policy and review your Declarations page
for complete information on the coverages you are provided. If there is any conflict between the Policy and this
summary, THE PROVISIONS OF YOUR PERSONAL AUTO POLICY SHALL PREVAIL.


This Notice provides information concerning ride-sharing arrangements through Transportation Network
Companies (TNCs) and the potential insurance implications for TNC drivers.


TNCs typically offer a ride-sharing service which uses smart-phone applications and other Internet-based
platforms to connect passengers with drivers who use personal autos to provide transportation services for a
donation or a fee.


Your policy's Liability Coverage contains an exclusion for an insured's liability arising out of the ownership or
operation of a vehicle while it is being used as a public or livery conveyance. This includes any period of time a
vehicle is being used by any "insured" who is logged into a "transportation network platform" as a driver, whether
or not a passenger is occupying the vehicle. Similar exclusions also apply to Medical Payments Coverage,
Uninsured Motorists Coverage, Coverage For Damage To Your Auto and Underinsured Motorists Coverage
(where applicable).


As used in your policy, "transportation network platform" means an online-enabled application or digital network
used to connect passengers with drivers using vehicles for the purpose of providing prearranged transportation
services for compensation.


You should:
      • Review your Personal Auto Policy and any applicable TNC insurance policy carefully; and
      • Contact your insurance agent or broker to discuss potential gaps in insurance coverage under your policy
        and the TNC policy which may arise while participating as a TNC driver.




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        O      S E N T R A L                            CENTRAL MUTUAL INSURANCE COMPANY
                                                        800 S WASHINGTON ST
                                                        VAN WERT OH 45891-2381
                                                        www.central-insurance.com

                                                        Effective Date: 08/08/2021



                    SIGNATURE AUTOMOBILE POLICY DECLARATIONS

    REASON FOR THESE DECLARATIONS: DISCOUNT ADDED OR CHANGED

    NAMED INSURED                           AGENCY
    KENNETH G SHEETS                        SNELLINGS WALTERS INS AGENCY
    ANGELA D SHEETS                         1117 PERIMETER CTR STE W101
    472 KIMBERLY CT                         ATLANTA GA 30338-5449
    MCDONOUGH GA 30252-3659                 (770) 396-9600
                                            www.snellingswalters.com


    POLICY NUMBER FMA3627637
    POLICY PERIOD AT ADDRESS OF NAMED INSURED FROM 08/08/2021 TO 08/08/2022
                  (12:01 A.M. STANDARD TIME)

     YOUR PREMIUM
        RETURN PREMIUM AS A RESULT OF THIS CHANGE            Redacted Premium Info
        TOTAL ANNUAL PREMIUM


     YOU ARE SAVING MONEY
        YOUR DISCOUNTS
          AFFILIATE RATING
          PAYMENT TIMELINESS
          PAID IN FULL
          PACKAGED POLICY
          CUSTOMER LOYALTY
          ELITE NEW POLICY
          ANTI-THEFT                           Vehicle: 001, 003, 004, 006
          PASSIVE RESTRAINT                    Vehicle: 001,002, 003, 004, 006


     VEHICLES
     VEHICLE STATE TER YEAR MAKE/MODEL              IDENTIFICATION NUMBER SYMBOL     CLASS
      001    GA    028 2017 LEXU RX 350             JTJBZMCA6H2024195     2904904141 U85100
      002    GA    028 2009 ROVE RANGE ROVE         SALS K25499A191217    2954802323 U85100
      003    GA    028 2011 FORD F-150              1FTFW1R66BFD0008  2   3054703225 U85100
      004    GA    028 2019 HOND ACCORD             1HGCV3F98KA017990     2955004942 U85100
      006    GA    028 2015 CHEV SILVERADO          3GCUKSECXFG402560     2954602834 P85100




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         SIGNATURE AUTOMOBILE POLICY DECLARATIONS (CONTINUED)
NAMED INSURED                                            POLICY NUMBER
KENNETH G SHEETS                                         FMA 3627637
ANGELA D SHEETS


 DRIVERS
    DRIVER     NAME                                                                         BIRTH DATE
    01         KENNETH G SHEETS                                                              Redacted
    02         ANGELA D SHEETS                                                               Premium
                                                                                             Redacted
    03         NATHAN THOMAS SHEETS                                                          Premium

 ADDITIONAL DRIVER INFORMATION
  DRIVER 03:  Driver is excluded from all coverages.



 COVERAGES, LIMITS OF LIABILITY, AND PREMIUMS
Coverage is provided where premium & limit of liability are shown for the coverage.


                                                      VEHICLE      VEHICLE     VEHICLE   VEHICLE   VEHICLE
COVERAGE / LIMIT OF LIABILITY                             001        002         003       004       006
 A. LIABILITY LIMITS
    1. BODILY INJURY
       $250,000 EACH PERSON                          Redacted Premium Info
       $500,000 EACH ACCIDENT

     2.   PROPERTY DAMAGE
          $100,000 EACH ACCIDENT

 B. MEDICAL PAYMENTS
    $10,000 EACH PERSON

 C. UNINSURED MOTORISTS - ADD-ON
    1. BODILY INJURY
       $250,000 EACH PERSON
       $500,000 EACH ACCIDENT

     2.   PROPERTY DAMAGE
          $100,000 EACH ACCIDENT
          LESS $250 DEDUCTIBLE

 D. DAMAGE TO YOUR AUTO
    1. OTHER THAN COLLISION LOSS
       ACTUAL CASH VALUE LESS $2,500

     2.   COLLISION LOSS
          ACTUAL CASH VALUE LESS $2,500
VEHICLE ANNUAL PREMIUM




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      SIGNATURE AUTOMOBILE POLICY DECLARATIONS (CONTINUED)
NAMED INSURED                                            POLICY NUMBER
KENNETH G SHEETS                                         FMA 3627637
ANGELA D SHEETS


 COVERAGES, LIMITS OF LIABILITY, AND PREMIUMS
Coverage is provided where premium & limit of liability are shown for the coverage.

ADDITIONAL COVERAGES
 SIGNATURE AUTO ENDORSEMENT INCLUDES THE FOLLOWING:
    WAIVER OF COLLISION DEDUCTIBLE FOR
        PARKED CAR LOSSES
    WAIVER OF COLLISION DEDUCTIBLE IF INVOLVED IN
       AN ACCIDENT WITH ANOTHER CENTRAL INSURED
       AN ACCIDENT WITH AN UNINSURED MOTORIST
    WAIVER OF OTHER THAN COLLISION OR COLLISION
        DEDUCTIBLE IF VEHICLE DECLARED A TOTAL LOSS
    WAIVER OF OTHER THAN COLLISION DEDUCTIBLE FOR
        GLASS LOSSES
    TOWING & LABOR COSTS
    TRANSPORTATION EXPENSES
    PERSONAL EFFECTS
    DOUBLED MEDICAL PAYMENTS
    AUTOMOBILE DEATH BENEFIT
    RENTAL CAR LOSS OF USE
    AIR BAG REPLACEMENT
    PORTABLE ELECTRONIC EQUIPMENT
    AUTO LOAN/LEASE GAP
    LOCK REPLACEMENT
    LOCKOUT
    FIRE, POLICE, RESCUE SQUAD, AND
       AMBULANCE SERVICE CHARGE
    PET INJURY
    CHILD SAFETY SEATS
    TRIP INTERRUPTION
    REPLACEMENT COST
    ORIGINAL EQUIPMENT MANUFACTURER PARTS
    VEHICLE MODIFICATION
    WORLDWIDE RENTED VEHICLES                                              Redacted Premium
        For specific coverage details see endorsement.                     Info
ADDITIONAL COVERAGES ANNUAL PREMIUM




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      SIGNATURE AUTOMOBILE POLICY DECLARATIONS (CONTINUED)
NAMED INSURED                                           POLICY NUMBER
KENNETH G SHEETS                                        FMA 3627637
ANGELA D SHEETS


 FORMS APPLICABLE TO POLICY
    FORM         DATE      FORM TITLE
    PP0001      09/18      PERSONAL AUTO POLICY PROVISIONS
    PP0157      09/18      GA-AMENDMENT OF POLICY PROVISIONS
    PP0203      09/18      GA-TERMINATION PROVISIONS
    PP0454      09/18      GA-UNINSURED MOTORISTS ADD-ON COVERAGE
    PP2315      09/18      GA-NAMED DRIVER EXCLUSION ENDORSEMENT
    20-1456     09/86      HOMEOWNERS-AUTO DEDUCTIBLE WAIVER ENDORSEMENT
    20-1768     08/91      MUTUAL POLICY CONDITIONS-APPLICABLE TO CENTRAL MUTUAL
    20-1769     08/91      PROVISIONS APPLICABLE TO CENTRAL MUTUAL & ALL AMERICA INS CO
    3-2986      05/15      CENTRAL SIGNATURE (SM) AUTO ENDORSEMENT
 * Denotes forms attached with this transaction.


 ADDITIONAL POLICY INFORMATION

    Your premium reflects membership in an employer-based affiliate group rating program. If your employer has
    changed, please notify your agent.




                                       V?                              ---------                08/03/2021
                                            PRESIDENT             SECRETARY                       DATE

 THESE DECLARATIONS REPLACE ALL PRIOR DECLARATIONS IF ANY, AND WITH POLICY PROVISIONS AND ENDORSEMENTS
 COMPLETE THIS POLICY

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    O      B E N T R A L                           CENTRAL MUTUAL INSURANCE COMPANY
                                                   800 S WASHINGTON ST
                                                   VAN WERT OH 45891-2381
                                                   www.central-insurance.com

                                                    Effective Date: 10/07/2021



               SIGNATURE AUTOMOBILE POLICY DECLARATIONS

REASON FOR THESE DECLARATIONS: DELETE VEHICLE

NAMED INSURED                           AGENCY
KENNETH G SHEETS                        SNELLINGS WALTERS INS AGENCY
ANGELA D SHEETS                         1117 PERIMETER CTR STE W101
472 KIMBERLY CT                         ATLANTA GA 30338-5449
MCDONOUGH GA 30252-3659                 (770) 396-9600
                                        www.snellingswalters.com


POLICY NUMBER FMA3627637
POLICY PERIOD AT ADDRESS OF NAMED INSURED FROM 08/08/2021 TO 08/08/2022
              (12:01 A.M. STANDARD TIME)

 YOUR PREMIUM
    RETURN PREMIUM AS A RESULT OF THIS CHANGE          Redacted Premium Info
    TOTAL ANNUAL PREMIUM


 YOU ARE SAVING MONEY
    YOUR DISCOUNTS
      ELITE NEW POLICY
      AFFILIATE RATING
      PAYMENT TIMELINESS
      PAID IN FULL
      PACKAGED POLICY
      CUSTOMER LOYALTY
      ANTI-THEFT                           Vehicle: 001,003, 004
      PASSIVE RESTRAINT                    Vehicle: 001,002, 003, 004


 VEHICLES
 VEHICLE STATE TER YEAR MAKE/MODEL              IDENTIFICATION NUMBER SYMBOL     CLASS
  001    GA    028 2017 LEXU RX 350             JTJBZMCA6H2024195     2904904141 U85101
  002    GA    028 2009 ROVE RANGE ROVE         SALS K25499A191217    2954802323 U85101
  003    GA    028 2011 FORD F-150              1FTFW1R66BFD00082     3054703225 U85101
  004    GA    028 2019 HOND ACCORD             1HGCV3F98KA017990     2955004942 U85101




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         SIGNATURE AUTOMOBILE POLICY DECLARATIONS (CONTINUED)
NAMED INSURED                                            POLICY NUMBER
KENNETH G SHEETS                                         FMA 3627637
ANGELA D SHEETS


 DRIVERS
    DRIVER     NAME                                                                         BIRTH DATE
    01         KENNETH G SHEETS                                                              Redacted
    02         ANGELA D SHEETS                                                               Premium
                                                                                             Redacted
    03         NATHAN THOMAS SHEETS                                                          Premium
                                                                                             Redacte
                                                                                             d
 ADDITIONAL DRIVER INFORMATION
  DRIVER 03:  Driver is excluded from all coverages.



 COVERAGES, LIMITS OF LIABILITY, AND PREMIUMS
Coverage is provided where premium & limit of liability are shown for the coverage.


                                                      VEHICLE     VEHICLE      VEHICLE   VEHICLE
COVERAGE / LIMIT OF LIABILITY                           001         002          003       004

 A. LIABILITY LIMITS
    1. BODILY INJURY
       $250,000 EACH PERSON                        Redacted Premium Info
       $500,000 EACH ACCIDENT

     2.   PROPERTY DAMAGE
          $100,000 EACH ACCIDENT

 B. MEDICAL PAYMENTS
    $10,000 EACH PERSON

 C. UNINSURED MOTORISTS - ADD-ON
    1. BODILY INJURY
       $250,000 EACH PERSON
       $500,000 EACH ACCIDENT

     2.   PROPERTY DAMAGE
          $100,000 EACH ACCIDENT
          LESS $250 DEDUCTIBLE

 D. DAMAGE TO YOUR AUTO
    1. OTHER THAN COLLISION LOSS
       ACTUAL CASH VALUE LESS $2,500

     2.   COLLISION LOSS
          ACTUAL CASH VALUE LESS $2,500
VEHICLE ANNUAL PREMIUM




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      SIGNATURE AUTOMOBILE POLICY DECLARATIONS (CONTINUED)
NAMED INSURED                                            POLICY NUMBER
KENNETH G SHEETS                                         FMA 3627637
ANGELA D SHEETS


COVERAGES, LIMITS OF LIABILITY, AND PREMIUMS
Coverage is provided where premium & limit of liability are shown for the coverage.

ADDITIONAL COVERAGES
 SIGNATURE AUTO ENDORSEMENT INCLUDES THE FOLLOWING:
    WAIVER OF COLLISION DEDUCTIBLE FOR
        PARKED CAR LOSSES
    WAIVER OF COLLISION DEDUCTIBLE IF INVOLVED IN
       AN ACCIDENT WITH ANOTHER CENTRAL INSURED
       AN ACCIDENT WITH AN UNINSURED MOTORIST
    WAIVER OF OTHER THAN COLLISION OR COLLISION
        DEDUCTIBLE IF VEHICLE DECLARED A TOTAL LOSS
    WAIVER OF OTHER THAN COLLISION DEDUCTIBLE FOR
       GLASS LOSSES
    TOWING & LABOR COSTS
    TRANSPORTATION EXPENSES
    PERSONAL EFFECTS
    DOUBLED MEDICAL PAYMENTS
    AUTOMOBILE DEATH BENEFIT
    RENTAL CAR LOSS OF USE
    AIR BAG REPLACEMENT
    PORTABLE ELECTRONIC EQUIPMENT
    AUTO LOAN/LEASE GAP
    LOCK REPLACEMENT
    LOCKOUT
    FIRE, POLICE, RESCUE SQUAD, AND
       AMBULANCE SERVICE CHARGE
    PET INJURY
    CHILD SAFETY SEATS
    TRIP INTERRUPTION
    REPLACEMENT COST
    ORIGINAL EQUIPMENT MANUFACTURER PARTS
    VEHICLE MODIFICATION
    WORLDWIDE RENTED VEHICLES
                                                                            Redacted Premium Info
        For specific coverage details see endorsement.
ADDITIONAL COVERAGES ANNUAL PREMIUM




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      SIGNATURE AUTOMOBILE POLICY DECLARATIONS (CONTINUED)
NAMED INSURED                                           POLICY NUMBER
KENNETH G SHEETS                                        FMA 3627637
ANGELA D SHEETS


 FORMS APPLICABLE TO POLICY
    FORM         DATE      FORM TITLE
    PP0001      09/18      PERSONAL AUTO POLICY PROVISIONS
    PP0157      09/18      GA-AMENDMENT OF POLICY PROVISIONS
    PP0203      09/18      GA-TERMINATION PROVISIONS
    PP0454      09/18      GA-UNINSURED MOTORISTS ADD-ON COVERAGE
    PP2315      09/18      GA-NAMED DRIVER EXCLUSION ENDORSEMENT
    20-1456     09/86      HOMEOWNERS-AUTO DEDUCTIBLE WAIVER ENDORSEMENT
    20-1768     08/91      MUTUAL POLICY CONDITIONS-APPLICABLE TO CENTRAL MUTUAL
    20-1769     08/91      PROVISIONS APPLICABLE TO CENTRAL MUTUAL AND ALL AMERICA INS CO
    3-2986      05/15      CENTRAL SIGNATURE (SM) AUTO ENDORSEMENT
 * Denotes forms attached with this transaction.


 ADDITIONAL POLICY INFORMATION

    Your premium reflects membership in an employer-based affiliate group rating program. If your employer has
    changed, please notify your agent.




                                       c?
                                      V "
                                                                                                11/23/2021
                                            PRESIDENT             SECRETARY                       DATE

 THESE DECLARATIONS REPLACE ALL PRIOR DECLARATIONS IF ANY, AND WITH POLICY PROVISIONS AND ENDORSEMENTS,
 COMPLETE THIS POLICY

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    O      S E N T R A L                            CENTRAL MUTUAL INSURANCE COMPANY
                                                    800 S WASHINGTON ST
(^igmaAM/ie/                                        VAN WERT OH 45891-2381
                                                    www.central-insurance.com

                                                    Effective Date: 12/26/2021



               SIGNATURE AUTOMOBILE POLICY DECLARATIONS

REASON FOR THESE DECLARATIONS: CLASS CHANGED

NAMED INSURED                           AGENCY
KENNETH G SHEETS                        SNELLINGS WALTERS INS AGENCY
ANGELA D SHEETS                         1117 PERIMETER CTR STE W101
472 KIMBERLY CT                         ATLANTA GA 30338-5449
MCDONOUGH GA 30252-3659                 (770) 396-9600
                                        www.snellingswalters.com


POLICY NUMBER FMA3627637
POLICY PERIOD AT ADDRESS OF NAMED INSURED FROM 08/08/2021 TO 08/08/2022
              (12:01 A.M. STANDARD TIME)

 YOUR PREMIUM
    RETURN PREMIUM AS A RESULT OF THIS CHANGE             Redacted Premium Info
    TOTAL ANNUAL PREMIUM


 YOU ARE SAVING MONEY
    YOUR DISCOUNTS
      ELITE NEW POLICY
      AFFILIATE RATING
      PAYMENT TIMELINESS
      PAID IN FULL
      PACKAGED POLICY
      CUSTOMER LOYALTY
      ANTI-THEFT                           Vehicle: 001, 003, 004
      PASSIVE RESTRAINT                    Vehicle: 001, 002, 003, 004
      DEFENSIVE DRIVER                     Driver: 001


 VEHICLES
 VEHICLE STATE TER YEAR MAKE/MODEL              IDENTIFICATION NUMBER SYMBOL     CLASS
  001    GA    028 2017 LEXU RX 350             JTJBZMCA6H2024195     2904904141 U85101
  002    GA    028 2009 ROVE RANGE ROVE         SALSK25499A191217     2954802323 U85101
  003    GA    028 2011 FORD F-150              1FTFW1R66BFD00082     3054703225 U85101
  004    GA    028 2019 HOND ACCORD             1HGCV3F98KA017990     2955004942 U85101




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         SIGNATURE AUTOMOBILE POLICY DECLARATIONS (CONTINUED)
NAMED INSURED                                            POLICY NUMBER
KENNETH G SHEETS                                         FMA 3627637
ANGELA D SHEETS


 DRIVERS
    DRIVER     NAME                                                                         BIRTH DATE
    01         KENNETH G SHEETS                                                              Redacted
    02         ANGELA D SHEETS                                                               Redacted
                                                                                             Premium
    03         NATHAN THOMAS SHEETS                                                          Premium
                                                                                             Redacte
                                                                                             d
 ADDITIONAL DRIVER INFORMATION
  DRIVER 03:  Driver is excluded from all coverages.



 COVERAGES, LIMITS OF LIABILITY, AND PREMIUMS
Coverage is provided where premium & limit of liability are shown for the coverage.


                                                      VEHICLE     VEHICLE      VEHICLE   VEHICLE
COVERAGE / LIMIT OF LIABILITY                             001       002          003       004

 A. LIABILITY LIMITS
    1. BODILY INJURY
       $250,000 EACH PERSON
                                                    Redacted Premium Info
       $500,000 EACH ACCIDENT

     2.   PROPERTY DAMAGE
          $100,000 EACH ACCIDENT

 B. MEDICAL PAYMENTS
    $10,000 EACH PERSON

 C. UNINSURED MOTORISTS - ADD-ON
    1. BODILY INJURY
       $250,000 EACH PERSON
       $500,000 EACH ACCIDENT

     2.   PROPERTY DAMAGE
          $100,000 EACH ACCIDENT
          LESS $250 DEDUCTIBLE

 D. DAMAGE TO YOUR AUTO
    1. OTHER THAN COLLISION LOSS
       ACTUAL CASH VALUE LESS $2,500

     2.   COLLISION LOSS
          ACTUAL CASH VALUE LESS $2,500
VEHICLE ANNUAL PREMIUM




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      SIGNATURE AUTOMOBILE POLICY DECLARATIONS (CONTINUED)
NAMED INSURED                                            POLICY NUMBER
KENNETH G SHEETS                                         FMA 3627637
ANGELA D SHEETS


 COVERAGES, LIMITS OF LIABILITY, AND PREMIUMS
Coverage is provided where premium & limit of liability are shown for the coverage.

ADDITIONAL COVERAGES
 SIGNATURE AUTO ENDORSEMENT INCLUDES THE FOLLOWING:
    WAIVER OF COLLISION DEDUCTIBLE FOR
        PARKED CAR LOSSES
    WAIVER OF COLLISION DEDUCTIBLE IF INVOLVED IN
       AN ACCIDENT WITH ANOTHER CENTRAL INSURED
       AN ACCIDENT WITH AN UNINSURED MOTORIST
    WAIVER OF OTHER THAN COLLISION OR COLLISION
        DEDUCTIBLE IF VEHICLE DECLARED A TOTAL LOSS
    WAIVER OF OTHER THAN COLLISION DEDUCTIBLE FOR
       GLASS LOSSES
    TOWING & LABOR COSTS
    TRANSPORTATION EXPENSES
    PERSONAL EFFECTS
    DOUBLED MEDICAL PAYMENTS
    AUTOMOBILE DEATH BENEFIT
    RENTAL CAR LOSS OF USE
    AIR BAG REPLACEMENT
    PORTABLE ELECTRONIC EQUIPMENT
    AUTO LOAN/LEASE GAP
    LOCK REPLACEMENT
    LOCKOUT
    FIRE, POLICE, RESCUE SQUAD, AND
       AMBULANCE SERVICE CHARGE
    PET INJURY
    CHILD SAFETY SEATS
    TRIP INTERRUPTION
    REPLACEMENT COST
    ORIGINAL EQUIPMENT MANUFACTURER PARTS
    VEHICLE MODIFICATION
    WORLDWIDE RENTED VEHICLES
       For specific coverage details see endorsement.
                                                                           Redacted Premium Info
ADDITIONAL COVERAGES ANNUAL PREMIUM




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      SIGNATURE AUTOMOBILE POLICY DECLARATIONS (CONTINUED)
NAMED INSURED                                           POLICY NUMBER
KENNETH G SHEETS                                        FMA 3627637
ANGELA D SHEETS

                                                                                                      •4»
 FORMS APPLICABLE TO POLICY
    FORM         DATE      FORM TITLE
    PP0001       09/18     PERSONAL AUTO POLICY PROVISIONS
    PP0157       09/18     GA-AMENDMENT OF POLICY PROVISIONS
    PP0203       09/18     GA-TERMINATION PROVISIONS
    PP0454       09/18     GA-UNINSURED MOTORISTS ADD-ON COVERAGE
    PP2315       09/18     GA-NAMED DRIVER EXCLUSION ENDORSEMENT
    20-1456      09/86     HOMEOWNERS-AUTO DEDUCTIBLE WAIVER ENDORSEMENT
    20-1768      08/91     MUTUAL POLICY CONDITIONS-APPLICABLE TO CENTRAL MUTUAL
    20-1769      08/91     PROVISIONS APPLICABLE TO CENTRAL MUTUAL AND ALL AMERICA INS CO
    3-2986       05/15     CENTRAL SIGNATURE (SM) AUTO ENDORSEMENT
 * Denotes forms attached with this transaction.


 ADDITIONAL POLICY INFORMATION

    Your premium reflects membership in an employer-based affiliate group rating program. If your employer has
    changed, please notify your agent.




                                       <7
                                      O L
                                                               ^7-7                             01/17/2022
                                            PRESIDENT             SECRETARY                       DATE

 THESE DECLARATIONS REPLACE ALL PRIOR DECLARATIONS IF ANY, AND WITH POLICY PROVISIONS AND ENDORSEMENTS
 COMPLETE THIS POLICY

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